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04-69%
UNITED STATES DISTRICT COURT ORIGIN AL

SOUTHERN DISTRICT OF FLORIDA
MAGISTRATE DAB

The Pension Committee of the University of Montreal Pension Plan; The Altar: SNOW
Fund; Aberdeen Investments, Ltd.; Aries Trading Ltd.; The Arrowsmith Fund, O.

Ltd.; AXA Alternative Advisors, Inc.; Banco Nominees (!.0.M.) Ltd; Bank of :

Bermuda (Luxembourg) S.A.; Banque Privee Edmond de Rothschild Europe; : Complaint
Banque Privee Edmond de Rothschild Europe/Isofin; John G. Barrie, Jr. IRA;
Base Force, Ltd.; Bombardier Trust (Canada); The Bombardier Trust (U.K.); The -
Bombardier Trust (U.S.); Commerzbank Capital Markets Corp.; Cedar Fund;
Clearwater Commercial Enterprises, Inc.; Commonfund Global Hedged

Partners, LLC; Condor Alternative Fund; The Corbett Family Charitable .
Foundation, Inc.; The International Active Fund of Funds; Fortis Global Custody -
Management and Trustee Services (Ireland) Ltd; Dirmica Investment, Ltd.;
Diversified Capital Management Ltd; Dominion Resources Inc. Master Trust;
Alain Dunand; Fondation Lucie et Andre Chagnon; 9091-2601 Quebec Inc.,
Assignee of Sojecci Ltee.; Claude Chagnon; Andre Chagnon; Fondation J.
Armand Bombardier; Fondation Lilla; Ethos Investments, Ltd; First Trust Corp.;
Goulam Investments Inc.; GT Alpha; Christa Gunter; Hermes Trading Ltd.;

HSBC Private Bank (Suisse) SA; HSBC Republic (USA) Inc.; Hunnicutt & Co.,
Inc.; IRA fbo Wiliam Hunnicut; Kredietbank Luxembourg; Kuwait and Middle East:
Financial Investment Company; La Compagnie Financiere Edmond de
Rothschild Banque; Cecile Lescoat; LGT Bank in Liechtenstein, Ltd.; L.H.
Logarithm Holdings SA; Madison Textiles Ltd.; Maestro Trading, Inc.; Mirelis
InvesTrust SA; Vittorio Mosca; The Morton Meyerson Family Foundation; The
1999 Meyerson Charitable Remainder Trust; Multivalor Invest Inc.; National

Bank of Canada; Nemrod Leveraged Holdings Ltd; Nobilis S.A.; Suzanne Fontan:
S.C.A; Halivest Sarl; Octogone Gestion SA; Okabena Marketable Alternatives
Fund LLC; Pictet & Cie Banquiers; The Pension Committee of Régime des
rentes du Mouvement Desjardins; Anne-Chantal Pigelet; The Trustees of RCA :
in Trust; The Pension Committee of the pension plan for Regime de ratraite de la: a4 ]
Corporation de l'Ecole Polytechnique; Rothschild Gestion; Satnam Investments -
Ltd; Seven Seas Portfolio A Ltd; Signet Multi-Manager Inc; SIL Nominees - +
Limited; Sperry Complete Manager Fund Ltd.; SPGP (Societe Privee de Gestion s oT
de Patrimoine); St. George’s Trust Company Limited: Jo-Ann St. Germain; The. —
Stafford Fund Ltd; StarVest Funds Ltd.; The Taurus Trust; Team Haas USA, Ltd;.
Trendtrust SA; UEB Geneva; James Vaughan; Venere Investments Limited;
Vidacos Nominees Ltd.; WestWind Foundation Holdings Ltd.; 169642 Canada,

Inc.; 171212 Canada, Inc.,

 

Jury Trial
Demanded

Plaintiffs
-against-

Banc of America Securities, LLC ; Citco Fund Services (Curacao) N.V.; The
Citco Group Limited; International Fund Services (Ireland) Limited;
PricewaterhouseCoopers (Netherlands Antilles ); John W. Bendall, Jr.; Richard
Geist; Anthony Stocks; Kieran Conroy; and Declan Quilligan,

Defendants x

 
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Plaintiffs, by their attorneys, Brown Rudnick Berlack Israels LLP, for their

complaint against the above-named defendants, respectfully allege as follows:
INTRODUCTION

1. The plaintiffs in this action collectively invested over $460 million in
two hedge funds, Lancer Offshore, Inc. (“Lancer Offshore”) and The OmniFund Ltd.
(‘OmniFund”)' (collectively referred to herein as the “Funds”). The Funds were
managed by Michael Lauer (“Lauer”) through Lancer Management Group, LLC (“Lancer
Management”), the management company he owned and controlled. The Funds are
now in the process of being liquidated and it has become increasingly and distressingly
clear that most of the capital invested in the Funds has been lost. The investors seek
through this action to redress their direct losses.

2. This case involves egregious misconduct and recklessness. Lauer
repeatedly and falsely told plaintiffs that the Funds’ assets were appreciating when, in
fact, the Funds had lost virtually all of plaintiffs’ money. Plaintiffs reasonably relied on
these misrepresentations when making investment decisions. Each of the Investors
was induced to invest in the Fund, and to pay inflated prices for shares in the Fund, by
the persistently overstated valuations of the Funds’ portfolios. Thereafter, Lauer and
other defendants intentionally caused plaintiffs to maintain their investments in the
Funds by continuing to lie about the performance of the Funds’ investments.

3. At least in recent years, the Funds’ holdings (the particular identity
of which were often kept secret from the investors) consisted mainly of small or micro-

cap stocks which were unlisted and only thinly traded on the over-the-counter market

 

' References to OmniFund are intended, unless specifically noted to the contrary, to include the Orbiter
and Viator Funds, predecessor funds merged into OmniFund in or about April 2002.
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and pink sheets. The Funds would initially acquire large, often controlling, stakes in
these companies for a small investment. Then, shortly before month end, Lauer would
cause the Funds to purchase a small number of shares at a price significantly higher
than the original acquisition price. The Funds would then calculate their entire holding
in the company at the now-inflated price reflected by the last “market” purchase. Lauer
used these inflated prices to report positive performance results to investors.

4. By “marking the close” in this manner, and employing other
fraudulent devices, Lauer was able to make it appear as though the value of the Funds’
portfolio was continually rising, even in a down market. This continually inflated
performance induced Plaintiffs to invest and remain invested in the Funds, thereby
increasing the management fees being earned by Lancer Management and others.
Plaintiffs were not told that the Funds were valued using this fraudulent technique.

5. The Funds’ directors included Anthony J. Stocks, Kieran Conroy
and Declan Quilligan, employees of the Funds’ Administrator, Citco Fund Services
(Curacao) N.V. (collectively the “Citco Directors”) as well as John W. Bendall, Jr. and
Richard Geist (collectively, all referred to as the “Director Defendants”). The Director
Defendants are also responsible for the plaintiffs’ losses because they breached their
obligations to ensure that the Funds’ portfolio were properly valued and reported to
Plaintiffs.

6. Lauer and the Director Defendants did not act — and, indeed could
not have acted — alone in perpetrating this fraudulent scheme. The fraud would not
have succeeded without the reckless and negligent conduct of the Funds’ service

providers, including their administrators, auditor and prime broker/custodian.
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7. Citco Fund Services (Curacao) N.V. (“Citco NV”), a division of The
Citco Group and the administrator for the Funds, distributed materially false monthly
NAV statements to plaintiffs. Instead of conducting an independent valuation, as it was
obligated to do, Citco NV simply used Lauer’s fraudulent valuations in preparing the
NAV statements. Lauer provided Citco NV with, among other things, documents
purporting to be position reports issued by the Bank’s custodian and prime broker, Bank
of America Securities, LLC (“B of A”). These reports were generated by Lauer from B of
A’s computer system and were based on inputs directly made by Lauer or by B of A
employees at Lauer’s direction. Citco NV knew or should have known of the fraud
because, among other things, three of its employees were also members of the Funds’
Board of Directors.

8. The Funds’ auditors, PricewaternouseCoopers (Netherlands
Antilles) (“PWC NA”), recklessly and negligently ratified and confirmed the false
valuations in annual audit reports disseminated directly to the plaintiffs. PWC NA
realized, or was reckless in failing to realize, that the Funds’ financial statements, which
it was auditing and certifying as accurate, fraudulently and dramatically overstated the
Funds’ assets, net worth and earnings along with concealing massive losses sustained
by the Funds. In the 2000 and 2001 audits, PWC NA represented that it had audited
the Funds’ financial statements in accordance with international standards on auditing,
including representations that the audits had been planned and performed in order to
obtain reasonable assurance, on the part of PWC NA, that the financial statements

were free of material misstatements. PWC NA failed to disclose that, in fact, it was
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simply rubber-stamping the information received from Lauer, thus facilitating the fraud
being perpetrated upon the investors.

9. In addition to committing a direct fraud upon the plaintiffs and
negligently performing their duties, Citco NV and PWC NA each materially assisted
Lauer’s effort to induce plaintiffs to purchase securities in the Funds at inflated prices
and/or to forego their rights to withdraw their investments therein. By creating and/or
confirming false valuations of the Funds’ assets, Citco NV and PWC NA each knowingly
(or recklessly) and materially assisted Lauer and the Director Defendant's continuing
fraud upon plaintiffs, and breach of fiduciary duty.

10. B of A also substantially assisted Lauer and the Director
Defendant's fraud and breach of duty. B of A provided Lauer with access to its
computer network, thereby allowing Lauer to generate position statements purporting to
depict the Funds’ holdings and the value of such holdings. These reports, which were
provided to Citco NV and PWC NA, appeared to be valuations undertaken by, or at
least approved by B of A (the “B of A Position Reports’).

11. Upon information and belief, the valuations set forth in the B of A
Position Reports, as well as other valuation information provided by Lauer, were used
by the auditor and the administrators to create fraudulent NAV statements and audit
reports. Moreover, certain investors, including The Pension Committee of the University
of Montreal and Fondation Chagnon, periodically received these BofA Positions
Reports and relied upon them when making investment and retention decisions. The
fraud could not have occurred if B of A had denied Lauer access to its computer system

or if B of A had ensured that the position reports were accurate.
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12. In September 2002, Citco NV resigned and was replaced by
defendant International Fund Services (Ireland) Limited (“IFS”). IFS also negligently
disseminated false, misleading and fraudulent NAV statements to investors based upon
Lauer's false valuations and did not independently value the portfolios.

THE PARTIES
The Plaintiffs

13. The plaintiffs are shareholders in the Funds. It is the intent of the
plaintiffs to pursue through this action only such claims as they own directly.

14. Specifically, the plaintiffs are as follows:

a) The Altar Fund, an exempted limited company incorporated under the
laws of the Cayman Islands having a registered office c/oCitco Fund
Services (Cayman Islands) Limited, Corporate Centre, West Bay Road,
P.O. Box 31106 SMB, Grand Cayman, Cayman Islands, B.W.I., which
invested $1,000,000 in Lancer Offshore on or about October 1, 2000,
$500,000 in Lance Offshore on or about May 1, 2001, $100,000 in Lancer
Offshore on or about August 1, 2002, $350,000 in Viator on or about
October 1, 2000, $300,000 in Viator on or about December 1, 2000,
$500,000 in Viator on or about February 1, 2001, $500,000 in Viator on or
about March 1, 2001 and $500,000 in Viator on or about May 1, 2001;

b) Aberdeen Investments Ltd., having an administration address at PO Box
300, 8034 Zurich, Switzerland, which invested $517,534.28 in Lancer
Offshore between February 1998 and February 2002:

Cc) Aries Trading, Ltd., having an address of Aktis 119, Faros Kavouri,
Vouligameni 166-71, Greece which invested $105,000 in Lancer Offshore
on or about April 1, 1997;

d) The Arrowsmith Fund Ltd., having an address at Dockendale House, West
Bay Street, P.O. Box N-4836, Nassau, Bahamas, which invested
$1,976,433.10 in Lancer Offshore in or about June 2001, $887,640.80 in
Lancer Offshore in or about May 2002 and $96,940.00 in Lancer Offshore
in or about May 2002;

e) AXA Alternative Advisors, Inc. in its capacity as investment manager and
agent for AXA Alternatve Strategies Fund Ltd., AXA New Horizon Fund
Select Dollar, AXA New Horizon Fund Select Euro and AXA New Horizon
Fund Select Plus Euro and as subadvisor and agent for CIC Alternaif,
having an address at 1370 Avenue of the Americas, 22" Floor, New York,
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New York 10019, which invested $15,000,000 in Lancer Offshore in or
about June 2002;

f) Banco Nominees (I.0.M.) Limited, having an address at P.O. Box 34,
12/13 Hill Street, Douglas, Isle of Man, IM99 IBW, British Isles, which
invested $200,000 in Lancer Offshore on or about April 25, 2001,
$200,000 in Lancer Offshore on or about August 10, 2001, $200,000 in
Lancer Offshore on or about April 11, 2002 and $300,000 in Lancer
Offshore on or about August 13, 2002:

g) Bank of Bermuda (Luxembourg), S.A. with an address at P.O. Box 413, 13
Rue Goethe, 2014 Luxembourg, which invested on behalf of Liberty
Ermitage North American Absolute Fund Ltd, $1,000,000 in Lancer
Offshore on or about June 1, 2002 and $1,000,000 in Lancer Offshore on
or about August 1, 2002;

h) Banque Privee Edmond de Rothschild Europe, having an address at
Societe anonyme, 20 boulevard Emmanuel Servais, L-2535 Luxembourg,
which invested $1,640,463.96 in Lancer Offshore;

i) Banque Privee Edmond de Rothschild Europe/Isofin having an address at
20 boulevard Emmanuel Servais, L-2535, Luxembourg, which invested
$3,000,000 in Lancer Offshore ;

j) John G. Barrie, Jr. IRA, an Individual Retirement Account (“IRA”) held on
behalf of John G. Barrie, Jr., who resides at 2331 Castleford Terrace,
Midlothian, Virginia 23113, which invested $250,000 in Lancer Offshore on
or about November 1, 2000;

k) Base Force, Ltd., having an address in c/o Bruce Campbell & Co., P.O.
Box 834, Bank of Nova Scotia Building, Grand Cayman, Cayman Islands,
which invested $1,100,000 in Lancer Offshore;

l) Bombardier Trust (Canada), as agent of the administrators of the pension
funds of Bombardier Inc. whose assets are collectively invested in the
Bombardier Trust (Canada) (Foreign Assets) Fund, a trust restated under
and governed by the laws of the Province of Quebec (Canada), with an
address in c/o Bombardier Inc., Corporate Office, 800 Rene-Levesque
Blvd. West, Montreal, Quebec, Canada H3B 1Y8, which invested
$20,000,000.00 in Lancer Offshore on or about January 1, 2000,
$6,960,608.60 in Lancer Offshore on or about March 1, 2000 and
$6,900,000.00 in Lancer Offshore on or about April 1, 2000;

m) | The Bombardier Trust (UK), a trust established under and governed by the
laws of Northern Ireland, with an address in c/o Bombardier Inc.,
Corporate Office, 800 Rene-Levesque Blvd. West, Montreal, Quebec,
Canada H3B 1Y8, which invested $6,000,000.00 in Lancer Offshore on or
about March 1, 2000, $8,328,000.00 in Lancer Offshore on or about April
1, 2000, $7,750,000.00 in Lancer Offshore on or about March 1, 2002 and
$3,000,000.00 in Lancer Offshore on or about June 1, 2002;
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n) The Bombardier Trust (U.S.) Master Trust, a trust established under and
governed by ERISA and the laws of the State of Ohio, with an address in
c/o Bombardier Inc., Corporate Office, 800 Rene-Levesque Blvd. West,
Montreal, Quebec, Canada H3B 1Y8, which invested $8,459,000.00 in
Lancer Offshore on or about October 1, 1999 and $1,025,940.01 in Lancer
Offshore on or about December 1, 1999;

0) Commerzbank Capital Markets Corporation in its capacity as investment
manager for AIS Holdings Series Trust II and Commerzbank Global
Alternative Limited and as subadvisor for Commerzbank Alternative
Strategies, having an address at 1251 Avenue of the Americas, New York,
NY 10020-1104, which invested $3,000,000 in Lancer Offshore on or
about May 1, 2002;

Pp) Cedar Fund, having an address in c/o Commerzbank Capital Markets
Corporation, 1251 Avenue of the Americas, New York, NY 10020-1104,
which invested $2,000,000 in Lancer Offshore;

q) Clearwater Commercial Enterprises, Inc., having an address care of
Bermuda Trust Company Limited, which invested $110,437.71 in Lancer
Offshore and $203,165.65 in OmniFund;

r) Commonfund Global Hedged Partners, LLC, having an address in care of
Commonfund Asset Management Company, Inc., 15 Old Danbury Road,
P.O. Box 812, Wilton, Connecticut 06897-0812, which invested
$1,500,000 in Lancer Offshore on or about April 1, 2000, $1,500,000 in
Lancer Offshore on or about June 1, 2000, $1,500,000 in Lancer Offshore
on or about July 1, 2000 and $6,000,000 in Lancer Offshore on or about
January 1, 2001;

Ss) Condor Alternative Fund, having an address in c/o SV Alterinvest, 42
Avenue Montaigne, 75008, Paris, France, which invested $700,000 in
Lancer Offshore in or about October 2000, $400,000 in Lancer Offshore in
or about December, 2001, $400,000 in OmniFund in or about October
2000 and $500,000 in OmniFund in or about June 2001;

t) The Corbett Family Charitable Foundation Inc., having an address of 2202
N. West Shore Blvd., Suite 110, Tampa, Florida 33607, which invested
$2,000,000 in Lancer Offshore on or about September 29, 2000 and
redeemed $400,000 from Lancer Offshore in or about June 2002.

u) The International Active Fund of Funds, having an address in c/o
Coronation Management Company Limited, which invested $20,750,000
in Lancer Offshore;

v) Fortis Global Custody Management and Trustee Services (Ireland) Limited
as trustee for Coronation Universal Fund, having an address in c/o Fortis
Global Custody Management & Trustee Services (Ireland) Limited, which
invested $8,000,000 in Lancer Offshore;
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w) Dirmica Investment Ltd having an address in c/o Mirabaud & Cie,
Boulevard du Theatre, CH-1211, Geneve 11 Switzerland, which invested
$3,899 675.54 in Lancer Offshore and $2,077 814.85 in OmniFund;

x) Diversified Capital Management LTD, an International Business Company
incorporated in the British Virgin Islands, having an address of Craigmuir
Chambers, P.O. Box 71, Road Town, Tortola, BVI, which invested
$3,000,000 in Lancer Offshore on or about May 1, 2002 and $3,000,000 in
Lancer Offshore on or about June 1, 2002;

y) Dominion Resources Inc. Master Trust, having an address in c/o
Dominion Resources Inc., 625 Liberty Avenue, Pittsburgh, Pennsylvania
15222, which invested $40,000,000 in Lancer Offshore between July 1999
and July 2002;

Zz) Alain Dunand, an individual residing at 15 Rue de Il'Eglise, 1270 Trelex,
Switzerland, invested $250,000 in Lancer Offshore on or about November
2, 1998 and $200,000 in Lancer Offshore on or about February 1, 2000;

aa) Ethos Investments Ltd, having an address in c/o S&A Papadimitrious &
Co., 241, Syngrou Ave. & 2, Aikarnassou Str., Athens, Greece 171-22,
which invested $200,000 in Viator on or about October 1, 2000;

bb) First Trust Corp., as trustee f/b/o Paul J. Simon, as trustee f/b/o/ Shirley A.
Simon and as trustee f/b/o Joseph Cueter, having an address in c/o US
Group, 20580 Hoover Road, Detroit, Michigan, 48206 which purchased
$1,465,000 in Lancer Offshore on or about January 30, 2001, $185,000 in
Lancer Offshore on or about January 31, 2001, $290,000 in Lancer
Offshore on or about January 30, 2001, $109,984.28 in Lancer Offshore in
June of 2001 and $6,168.95 in Lancer Offshore in June 2001;

cc) Fondation Lucie et Andre Chagnon, a Canadian charitable foundation with
a principal place of business at 1010 de la Gauchetiere West, Suite 600,
Montreal, Quebec, Canada H3B 2N2, which invested $50,000,000 in
Lancer Offshore on or about March 1, 2001 and $50,000,000 in Lancer
Offshore on or about December 1, 2001;

dd) Claude Chagnon, an individual residing in Canada, who _ invested
$5,000,000 in the Lancer Offshore on or about May 1, 2002;

ee) Andre Chagnon, an individual residing at 521 De L’Anse, Vaudreuil, QC,
J7V 8P3, Canada, who invested $2,000,000 in Lancer Offshore on or
about June 1, 1998;

ff) 9091-2601 Quebec Inc., Assignee of Sojecci Ltee., having an address at
1010 de la Gauchetiere West, Suite 600, Montreal, Quebec, Canada H3B
2N2, which invested $6,000,000 in Lancer Offshore on or about October
1, 1999, $10,000,000 in Lancer Offshore on or about February 29, 2000
and $10,000,000 in Lancer Offshore on or about April 30, 2002 and which
invested $2,000,000 in Orbiter on or about March 1, 2000, $2,000,000 in
Viator on or about March 1, 2000;
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gg) Fondation J. Armand Bombardier, having an address at Edifice Sun Life,
1155 rue Metcalfe, 21e etage, Montreal, Quebec H3B 2V6, Canada, which
purchased $2,700,000 in Lancer Offshore on or about November 30,
1999, $3,500,000 in Lancer Offshore on or about January 31, 2000 and
$2,200,000 in Lancer Offshore on or about May 1, 2001;

hh) Fondation Lilla, having an address c/o Mirabaud & Cie, Boulevard de
Theatre, CH — 1211, Geneva, Switzerland, which invested $150,225.14 in
Lancer Offshore;

il) Goulam Investments Inc., having an address in c/o Goulam Investment
Ltd., 6111, du Boise, #4A, Montreal, Quebec H3S 2V8, which invested
$500,000 in Lancer Offshore on or about November 30, 2001;

jj) GT Alpha, having an address in care of GT Finance, Societe de Gestion
16, place de la Madeleine, which invested $900,000 in Lancer Offshore on
or about January 1, 2002 and $300,000 in Lancer Offshore on or about

July 1, 2002;
kk) Christa Gunter, an individual who invested $100,0000 in Lancer Offshore;
1) Hermes Trading Ltd., having an address of Aktis 119, Faros Kavouri,

Vouliagmeni 166-71, Greece, which invested $150,000 in Viator on or
about October 1, 2000;

mm) HSBC Private Bank (Suisse) SA (f/k/a HSBC Republic (Suisse) SA,
having an address of 2 Quai General-Guisan, P.O. Box 3580, 1211
Geneva 3, Switzerland, invested $7,380,000 in Lancer Offshore and
$255,000 in OmniFund between May 1997 and July 2002;

nn} HSBC Republic (USA) Inc., having an address c/o HSBC Brokerage
(USA) Inc., 1 West 39°" Street, 11'° Floor, New York, New York 10018,
which invested $1,000,000 in Lancer Offshore;

00)  Hunnicutt & Co., Inc. (Defined Benefit Plan), having an address in c/o
Hunnicut & Co., Inc., 110 East 59" Street, Suite 3200, New York, New
York 10022, which invested $580,361.10 in Lancer Offshore;

pp) IRA f/b/o William Hunnicut VFTC as Custodian, having an address in c/o
Hunnicut & Co., Inc., 110 East 59" Street, Suite 3200, New York, New
York 10022, which invested $1,652,254.63;:

qq) Kredeitbank Luxembourg, A/C Special Opportunities Fund, having an
address at 43 Boulevard Royal, L-2955 Luxembourg, which invested
$1,300,000 in Lancer Offshore on or about July 1, 1998, $500,000 in
Lancer Offshore on or about September 1, 1998, $1,400,000 in Lancer
Offshore on or about December 1, 1999, $600,000 in Lancer Offshore on
or about January 1, 2000, $226,207.62 in Lancer Offshore in or about
2001, $46,531.20 in Lancer Offshore on or about June 6, 2002 and
$2,000,000 in Lancer Offshore on or about August 1, 2002 and which
redeemed ($100,000) from Lancer Offshore on or about October 1, 1999,

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($2,400,000) from Lancer Offshore on or about April 1, 2000 and
($2,000,000) from Lancer Offshore on or about October 1, 2000;

rr) Kuwait and Middle East Financial Investment Company, a company
having an address in care of Kuwait and Middle East Financial Investment
Company, PO Box 819 Safat 13009 Kuwait, which invested $1,000,000 in
Lancer Offshore on or about November 1, 1997, $1,000,000 in Lancer
Offshore on or about January 1, 1998,$10,000,000 in Lancer Offshore on
or about May 1, 1998, $10,000,000 in Lancer Offshore on or about
January 1, 2000, $1,500,000 in Lancer Offshore on or about March 1,
2000, $800,000 in Lancer Offshore on or about June 1, 2000, $750,000 in
Lancer Offshore on or about June 1, 2000 and $250,000 in Lancer
Offshore on or about June 1, 2002 and which redeemed ($181,755) from
Lancer Offshore;

ss) La Compagnie Financiere Edmond de Rothschild Banque, an entity
having an address c/o LCF Rothschild Multi Management 47, rue du
Faubourg Saint-Honore, 75401 Paris Cedex 08, France, which invested
$9,406,282.50 in Lancer Offshore between October 1997 and May 2002:

tt) Cecile Lescoat, an individual residing in France who invested $55,825.62
in Lancer Offshore;

uu) ~LGT Bank in Liechtenstein AG, an entity having an address c/o LGT Bank
in Lichtenstein Ltd., Herrengasse 12, FL-9490 Vaduz, Furstentum,
Lichtenstein, which purchased $834,701.43 in Lancer Offshore in or about
October 1999;

vv) L.H. Logarithm Holdings SA, having an address in c/o Rene Merkt
Associes 15, rue General-Dufour, Case Postale 5556, CH-1211 Geneve
11 Switzerland, which invested $193366 in OmniFund on or about August
2, 2001 and $49,999.66 in OmniFund on or about November 30, 1999;

ww) Madison Textiles, LTD, a company limited by shares incorporated in
Guernsey, the Channel Islands on August 24, 1990 with a registered office
in Havelet Howe, South Esplanade 181, St. Peter Port, Guernsey, which
invested $500,000in Lancer Offshore in March 1997, $500,000 in Lancer
Offshore in August 1997, $1,000,000 in Lancer Offshore in November
1997 and $1,500,000 in Lancer Offshore in June 1998 and which
redeemed ($500,000) from Lancer Offshore in January 2001 and
($2,000,000) from Lancer Offshore in April 2002 and which invested
$500,000 in Orbiter on or about March 1, 1999, $552,718 in Orbiter on or
about July 1, 1999, $1,000,000 in Viator on or about October 15, 1999,
$250,000 in Orbiter on or about January 1, 2001, $250,000 in Viator on or
about January 1, 2001 and $2,000,000 in OmniFund on or about April 1,
2002;

xx) | Maestro Trading, Inc., having an address in c/o Vergotis, 13-15 Dimitros
Street, P. Faliron, Athens 17562, Greece, which invested $100,000 in
Lancer Offshore in or about June 1998;

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yy)  Mirelis InvesTrust SA, having an address of 12, rue de la Corraterie, 12
Geneva 11, Switzerland, which invested $3,500,000 in Lancer Offshore;

zz) Vittorio Mosca, an individual residing in Italy, who invested $500,000 in
Lancer Offshore;

aaa) The Morton Meyerson Family Foundation, a foundation and Texas non-
profit corporation, having an address of 7800 Northaven Road, Dallas,
Texas 75230, which invested $3,000,000 in Lancer Offshore between
March and April, 2002;

bbb) The 1999 Meyerson Charitable Remainder Trust, having an address of
3401 Armstrong Avenue, Dallas, Texas 75205, which invested $4,000,000
in Lancer Offshore in March 2002;

ccc) Multivalor Invest Inc., a Panamanian corporation, having a registered
office at Chase Manhattan Bank Building, via Espana 120, 2”° Floor,
Panama, Republic of Panama, which invested $252,033.40 in Lancer
Offshore on or about January 31, 1997;

ddd) National Bank of Canada, having an address at 1155 Metcalfe, Ground
Floor, Montreal, Quebec H3B 5G2, which invested $10,000,000 in Lancer
Offshore;

eee) Nemrod Leveraged Holdings Ltd., having an address in c/o Rothschild &
Cie Gestion, 42 Rue d’Anjou, 75008, Paris, France, which invested
$700,000 in Lancer Offshore on or about February 1, 1999, $500,000 in
Lancer Offshore on or about March 1, 2000, $500,000 in Lancer Offshore
on or about October 1, 2000, $300,000 in Lancer Offshore on or about
August 1, 2001, $1,000,000 in Lancer Offshore on or about November 1,
2001, $1,000,000 in Lancer Offshore on or about April 1, 2002,
$1,000,000 in Lancer Offshore on or about May 1, 2002, $1,000,000 in
Lancer Offshore on or about July 1, 2002, and $1,000,000 in Lancer
Offshore on or about August 1, 2002;

fff) Nobilis S.A.. Suzanne Fontan S.C.A. Halinvest Sarl, (collectively the
“Nobilis Group”), entities having an address in c/o Nobilis, S.A., 29 Rue
Bonaparte, 75006 Paris, France, which invested $500,000 in Lancer
Offshore on or about March 1, 2000 and $1,500,000 in Lancer Offshore on
or about August 1, 2002 on behalf of Nobilis S.A., $500,000 in Lancer
Offshore on or about March 6, 2000, $500,000 in Lancer Offshore on or
about August 1, 2002 on behalf of Suzanne Fontan S.C.A. and $425,000
in Lancer Offshore on or about August 1, 2002 on behalf of Halinvest Sarl;

ggg) Octogone Gestion SA, an entity located at 26, rue de Candolle, CH-1205
Geneva Switzerland, which invested $200,000 in Lancer Offshore in or
about March 2001, $100,000 in Lancer Offshore in or about April 2001,
$100,000 in Lancer Offshore in or about June 2001, $200,000 in Lancer
Offshore in or about June 2001, $500,000 in Lancer Offshore in or about
April 2002, $120,000 in Lancer Offshore in or about March 2002,
$190,000 in Lance Offshore in or about March 2002, $290,000 in Lancer

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Offshore in or about March 2002, $125,000 in Lancer Offshore in or about
May 2002, $25,000 in Lancer Offshore in or about June 2001, $50,000 in
Lancer Offshore in or about December 2001, $25,000 in Lancer Offshore
in or about April 2002, $45,000 in Lancer Offshore in or about June 2001,
$30,000 in Lancer Offshore in or about April 2002, $40,000 in Lancer
Offshore in or about April 2002, $50,000 in Lancer Offshore in or about
July 2001, $70,000 in Lancer Offshore in or about December 2001,
$100,000 in Lancer Offshore in or about June 2001, $100,000 in Lancer
Offshore in or about April 2002, $25,270 in Lancer Offshore in or about
April 2002, $16,837 in Lancer Offshore in or about June 1998, $37,910 in
Lancer Offshore in or about January 2002, $12,090 in Lancer Offshore in
or about January 2002, $20, 712 in Lancer Offshore in or about June
1998, $240,000 in Lancer Offshore in or about June 2001 and $350,000 in
Lancer Offshore in or about November 2001;

hhh) Okabena Marketable Alternatives Fund, LLC, a limited liability corporation,
having an address in c/o Okabena Investment Services Inc., 5410 Wells
Fargo Center, 90 South Seventh Street, Minneapolis, Minnesota, 55402-
4139, which invested $2,000,000 in Lancer Offshore on or about January
4, 1999, $1,000,000 in Lancer Offshore on or about February 1, 1999,
$1,500,000 in Lancer Offshore on or about March 1, 1999, $1,000,000 in
Lancer Offshore on or about April 1, 1999, $1,500,000 in Lancer Offshore
on or about October 1, 1999, $2,500,000 in Lancer Offshore on or about
April 3, 2000 and $1,300,000 in Lancer Offshore on or about January 2,
2001 and which redeemed ($3,000,000) from Lancer Offshore on or about
January 3, 2002;

ili) The Pension Committee of the University of Montreal, in its capacity as
administrator and agent for the University of Montreal Pension Plan,
having an address in c/o University of Montreal, Investment Management,
Pension Fund, Building 3744 Jean-Brillant suite 108, Montreal Quebec
H3T 1P1, Canada, which invested, through its custodian Fiducie
Desjardins, $17,000,000 in Lancer Offshore on or about July 1, 1998,
$15,000,000 in Lancer Offshore on or about October 1, 1999, $14,000,000
in Lance Offshore in or about October 1999, $6,000,000 in Lancer
Offshore on or about April 1, 2000 and $15,000,000 in Lancer Offshore on
or about May 1, 2000;

ji) | The Pension Committee of Régime des rentes du Mouvement Desjardins,
with an address at 100 avenue des commandeurs, Lévis, Province of
Quebec, Canada, QC G6V 7N5, which invested through its custodian
Fiducie Desjardins $10,000,000 in Lancer Offshore;

kkk) Anne-Chantal Pigelet, an individual residing at 344 rue Chenal, 74700
Sallanches, Paris, France, who invested $349,994.33 in Lancer Offshore
and $30,494.00 in OmniFund;

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iil) Pictet & Cie Banquiers, having an address of Boulevard Georges-Favon
29, Case Postale 5130, CH-1211 Geneva, Switzerland, which invested
$5,277 ,076.30 in Lancer Offshore;

mmm) Irving Teitelbaum, Stephen Gross and Laurence Lewin in their capacity as
the Trustees of RCA in Trust, having an address at 1604 St. Regis Blvd.,
Dorval, Quebec, Canada H9P 1H6, which invested $140,000 in Lancer
Offshore on or about May 1, 2002;

nnn) The Pension Committee of the Pension Plan for the Régime de retraite de
la Corporation de Il’Ecole Polytechnique, having an address in c/o Ecole
Polytechnique Montreal, C.P. 6079, succ. Centre-ville, Montreal, Quebec
Canada H3C 3A7, which invested $6,813,844.77 in Lancer Offshore on or
about April 1, 2000, $3,186,155.23 in Lancer Offshore on or about April 1,
2000, $6,230,500 in Lancer Offshore on or about June 1, 2000 and
$650,480 in Lancer Offshore on or about July 1, 2000;

000) Rothschild Gestion, having an address in c/o Rothschild & Cie Gestion, 42
Rue d’Anjou, 75008, Paris, France, which invested $500,000 in Lancer
Offshore;

ppp) Satnam Investments Ltd., having an address in c/o EFG Financial
Advisory Pte Ltd., 1 Raffles Place, #42-00, OUB Centre, Singapore
048616, which invested $71,000,000 in Lancer Offshore on or about May 1,
1999;

qqq) Seven Seas Portfolio A Limited, an entity incorporated under the laws of
Bermuda having an address at 6 Front Street, Hamilton HM 11, P.O. Box
HM 1020, Hamilton HM DX, Bermuda, which invested $1,000,000 in
Lancer Offshore;

rrr) Signet Multi-Manager Inc. and UEB (United European Bank) Geneva
(Switzerland), having addresses in care of Signet Management Limited 9
Columbus Centre, Pelican Drive, Road Town, Tortola, British Virgin
Islands, which invested, collectively, $500,000 in Lancer Offshore on or
about March 1, 1997, $200,000 in Lancer Offshore on or about March 1,
1997, $300,000 in Lancer Offshore on or about March 1, 1997, $250,000
in Lancer Offshore on or about January 1, 1998, $250,000 in Lancer
Offshore on or about April 1, 1998, $400,000 in Lancer Offshore on or
about July 1, 1998, $200,000 in Lancer Offshore on or about June 30,
1999, $700,000 in Lancer Offshore on or about June 1, 2000 and
$780,866.74 in Lancer Offshore on or about June 1, 2000 and which
redeemed ($300,000) from Lancer Offshore on or about January 1, 1999,
($300,000) from Lancer Offshore on or about January 1, 1999, ($250,000)
from Lancer Offshore on or about August 1, 1999, ($200,000) from Lancer
Offshore on or about September 1, 1999, ($300,000) from Lancer
Offshore on or about February 1, 2000, ($250,000) from Lancer Offshore
on or about February 1, 2000, ($300,000) from Lancer Offshore on or
about March 1, 2000, ($600,000) from Lancer Offshore on or about
February 1, 2001, ($200,00) from Lancer Offshore on or about April 1,

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2001 and ($200,000) from Lancer Offshore on or about June 1, 2001), for
a total of $680,866.74 in unredeemed investment;

sss) SIL Nominees Limited, a Cayman Islands entity having an administrative
office at 2 Jane Street, Suite 501, Toronto, Ontario M6S 4W3 Canada,
which invested $250,000 in Lancer Offshore in or about June 1997,
$500,000 in Lancer Offshore in or about December 1997, $170,000 in
Lancer Offshore in or about March 1998 and $500,000 in Lancer Offshore
in or about December 2000;

ttt) Sperry Complete Manager Fund Ltd., having a registered office c/o Citco,
Bahamas, which invested $350,000 in Lancer Offshore on or about July 1,
1996, $200,000 in Lancer Offshore on or about December 2, 1996,
$501,314.64 in Lancer Offshore on or about November 1, 1999,
$98,683.98 in Lancer Offshore on or about December 1, 1999, $68,120.83
in Lancer Offshore on or about January 1, 2000 and $26,301 in Lancer
Offshore on or abour November 1, 2000;

uuu) SPGP (Societe Privee de Gestion de Patrimoine), having an address 17
avenue Matignon, 75008 Paris, France, which invested $1,000,000 in
Lancer Offshore;

vvv) St. George’s Trust Company Limited, having an address of 27 Reid Street,
1*' Floor, P.O. Box HM 3051, Hamilton, HM 11, Bermuda, which invested
$500,000 in Lancer Offshore on or about February 3, 1997;

www) Jo-Ann St Germain, an individual residing at 940 Lake Shore Road, Dorval
QC H9S 2C5, Canada, who invested $258,500 in Lancer Offshore;

xxx) The Stafford Fund Ltd., successor to Stafford Opportunity Fund, Ltd., a
BVI entity having an address of in c/o Fairway Investment Partners AG,
Nueschelerstrasse 35, 8001 Zurich, which invested $600,000 in Lancer
Offshore on or about May 29, 1998 and $500,000 in Lancer Offshore on or
about February 1, 2000;

yyy) StarVest Funds Ltd., having an address in c/o Bank of Bermuda Limited,
6 Front Street, Hamilton HM 11, Bermuda, which invested $6,000,000 in
Lancer Offshore on or about January 1, 2002 and $500,000 in Lancer
Offshore on or about June 1, 2002;

zzz) The Taurus Trust, a Pennsylvania irrevocable trust, having an address in
care of Duane Morris LLP, One Liberty Plaza, Philadelphia, PA, 19103-
7396 and successor-in-interest to Turkos Seventeen Limited, which
invested $100,000.46 in Lancer Offshore on or about February 27, 1998:

aaaa) Team Haas USA, Ltd., a Cayman Islands corporation, having an address
of 15 Rue Du Jeu-De-L’arc, Case Postale 6259, CH 1211 Geneve,
Switzerland, which invested $1,500,000 in Lancer Offshore in April 2001;

bbbb) Trendtrust SA, having an address at Rue du Mont-Blanc 3, CH-1201
Geneve Switzerland, which invested $1,000,000 in Lancer Offshore;

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cccc) James Vaughan, who through his retirement account invested $660,000 in
Lancer Offshore;

dddd) Venere investments Limited, having an address in c/o Fiduciare Tucker,
Route de Denges 28G, 1027 Lonay, Switzerland, which invested
$690,000 in Lancer Offshore;

eeee) Vidacos Nominees Limited, having an address in c/o Liberty Ermitage, 1°
Floor, 47 The Esplanade, St. Helier, Jersey, Channel Islands, JE1 9LB,
which is the custodian for shares representing $1,500,000 invested in
Lancer Offshore on or about January 1, 2002;

ffff) WestWind Foundation Holdings Ltd., having an address of WestWind
Foundation Holdings, Ltd, PO Box 26 GT, Grand Cayman, Cayman
islands, B.W.1., which invested $1,400,000 in Lancer Offshore on or about
July 1, 1999, $500,000 in Lancer Offshore on or about January 1, 2000
and $2,000,000 in Lancer Offshore on or about April 1, 2000;

gggg) 169642 Canada, Inc., having an address c/o Len-Jay, Inc., 5640 Thimens,
St-Laurent, Quebec, H4R 2K9, which invested $100,000 in OmniFund;

hhhh) 171212 Canada, Inc., having an address at 12436 Notre Dame East,
Montreal, QC H1B 221, which invested $1,000,000 in Lancer Offshore on
or about February 1, 2000.

The Defendants

15. | Upon information and belief, Michael Lauer resides at 7 Dwight
Lane, Greenwich, Connecticut 06831. At all relevant times, Lauer was the founder,
manager and principal owner of Lancer Management, which acted as the Investment
Manager for the Funds and which had its principal office in New York City. Pursuant to
the Case Management Order entered in the case of Securities and Exchange
Commission v. Lauer, et al., No. 03-80612 on January 8, 2004 (the “CMO”), plaintiffs
are at this time prohibited from bringing any claims against, inter alia, Lauer and Lancer
Management without first obtaining court approval.

16. Upon information and belief, defendant John W. Bendall, Jr.
conducts an investment business in New York, New York under the name of Hermitage
Capital Corporation and has been a director of both Lancer Offshore and OmniFund

since early 2002.

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17. | Upon information and belief, defendant Richard Geist resides in
Massachusetts and has been a director of both Lancer Offshore and OmniFund since
early 2002.

18. | Upon information and belief, defendant Anthony Stocks (“Stocks”)
was a director of Lancer Offshore from 1995 until his resignation in or around July 2001
and resides in London, England. Stocks was also a Director of the International Fund
Services division of The Citco Group Limited during this time period.

19. | Upon information and belief, defendant Kieran Conroy (“Conroy”)
was a director of Lancer Offshore from 1998 until early 2002 and resides in Dublin,
Ireland. Conroy was also a Managing Director of Citco NV during this time period.

20. Upon information and _ belief, defendant Declan Quilligan
(“Quilligan”) was a director of Lancer Offshore from 2001 until early 2002 and resides in
Curacao, Netherlands Antilles. Quilligan was also General Manager and Managing
Director of Citco NV.

21. Upon information and belief, The Citco Group Limited ("The Citco
Group”) is an independent financial services organization with approximately 46 offices
in 27 countries around the world, including offices in New York and has its principal
place of business at Corporate Centre, West Bay Road, Grand Cayman, Cayman
Islands-British West Indies. One of its regional offices is defendant Citco Fund Services
(Curacao), N.V. The Citco Group represents that it is the world’s top provider of hedge
fund administration services and administers more than 1200 funds with more than
$110 billion in assets. The Citco Group also represents that by administering funds in

offices throughout the world it is able to provide a “consistent service platform” and that

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it is a “global fund administrator”. Further, The Citco Group states that its “mission is to
provide superior performance in the area of asset protection, delivered through our high
level of responsibility, continuity, accuracy, and responsiveness.” The Citco Group
allows its personnel “the ability to transfer between offices and divisions” in order to
maintain consistent levels of excellence.

22. Upon information and belief, Citco NV is a business entity
organized and existing under the laws of the Netherlands Antilles, having places of
business at Kaya Flamboyan 9, P.O. Box 812, Curacao, Netherlands Antilles and Citco
Building, Wickams Cay, Road Town, Tortola, British Virgin Islands. Citco NV isa
division and wholly-owned and controlled subsidiary of The Citco Group.

23. | Upon information and belief, PWC NA is a Netherlands Antilles civil
partnership formed by limited liability companies under Netherlands Antilles law and is a
member of PricewaterhouseCoopers International Limited, a company limited by
guaranty registered in England and Wales. PWC NA has a place of business at P.O.
Box 360, Julianaplein 38, Willemstad — Curacao, Netherlands, Antilles. PWC NA,
through its client and professional relationships, derives substantial revenue from
activities throughout the United States.

24. Upon information and belief, B of A is a limited liability corporation
organized and existing under the laws of the State of New York, having its principal
place of business therein at 9 West 57" Street, 17" Floor, New York, New York 10019.
B of A, through its business activities and relationships, derives substantial revenues

from the United States, including New York.

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25. Upon information and belief, International Fund Services (ireland)
Limited is a business entity organized and existing under the laws of Ireland, having a
place of business at Third Floor, Bishop’s Square, Redmond’s Hill, Dublin 2, lreland.
IFS, through its business activities and relationships, derives substantial revenues from
the United States.

JURISDICTION AND VENUE

26. This Court has original and/or supplemental subject matter
jurisdiction over all claims at issue in this action pursuant to, inter alia, 15 U.S.C. § 78aa
and 28 U.S.C. §§ 1331, 1367. The defendants conducted substantial activities in the
United States, and their conduct here directly caused the plaintiffs’ losses. Among other
things, defendants interacted on a regular basis with Lauer and Lancer Management,
both of whom conducted their business affairs from the United States. Many of the
false and fraudulent statements were created in the United States and sent from there
to the administrators for ultimate distribution to the investors. Regular investor
conference calls were initiated by Lauer from within the United States. Many of the
securities purchases made on behalf of the Funds were executed on national stock
exchanges in the United States and involved companies based in Florida. Lauer and
Lancer Management had regular contact with individuals in Florida relating to these
investments. Moreover, defendants committed acts outside of the United States which
caused injury within the United States. Finally, all of the claims asserted herein are so
related, and derive from the same set of operative facts, as to constitute a single case

or controversy.

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27. Moreover, this Court has subject matter jurisdiction over this action
pursuant to 28 U.S.C.§ 754 and the CMO, which mandates that this action must be
commenced in this Court.

28. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
because a substantial amount of the events or omissions giving rise to the claims
asserted herein occurred in this District. Venue is also proper in this District pursuant to
the CMO.

29. This Court has personal jurisdiction over Bendall and Geist
because both of them are residents of the United States. In addition, the Court has
personal jurisdiction over all of the Director Defendants because they performed
substantial business activities for the Funds which were managed by Lauer and Lancer
Management in the United States. Furthermore, the Director Defendants knew, or
reasonably should have known, that many investors in the Funds were located in the
United States and that information relating to the Funds, including offering materials
specifically identifying the Director Defendants was sent to those investors located in
the United States. Moreover, each of the Citco Directors participated in the fund
administration activities engaged in by Citco NV and, thus, the activities of Citco NV
which were directed to the United States and Florida must be imputed to the Citco
Directors.

30. This Court has personal jurisdiction over Citco NV because it
performs fund administration services for hundreds of companies throughout the world,
including many based in, and/or having investors located in, the United States. As a

result of such regular, systematic and continuous business activities, Citco NV derives

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substantial revenue from the United States, including Florida. Moreover, Citco NV had
specific and regular communications with the investors in the Funds, many of whom
were located in the United States.

31. This Court has personal jurisdiction over The Citco Group because
it is a worldwide company with offices located throughout the world, including at least
two in Florida itself, through which it conducts regular, systematic and continuous
business activities resulting in the derivation of substantial revenues from the United
States and Florida.

32. This Court has personal jurisdiction over PWC NA because it
provides auditing and accounting services to hundreds of companies throughout the
world, including many based in, and/or having substantial contacts with, the United
States. As a result of such regular, systematic and continuous business activities, PWC
NA derives substantial revenue from the United States, including Florida. Moreover,
PWC NA specifically addressed its audits to investors in the Funds, many of whom were
located in the United States.

33. This Court has personal jurisdiction over IFS because it also
performs fund administration services for hundreds of companies throughout the world,
including many based in, and/or having investors located in, the United States. As a
result of such regular, systematic and continuous business activities, IFS derives
substantial revenue from the United States, including Florida. Moreover, IFS had
specific and regular communications with the investors in the Funds, many of whom

were located in the United States.

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34. | This Court has personal jurisdiction over B of A because it performs
brokerage services for hundreds of companies throughout the world States, including
many based in, and/or having investors located in, the United States. As a result of
such regular, systematic and continuous business activities, B of A derives substantial
revenue from the United States, including Florida.

35. Moreover, pursuant to 28 U.S.C. § 1692, this Court has personal
jurisdiction over those defendants residing in, or otherwise present in, the United States.

FACTS RELEVANT TO ALL CLAIMS FOR RELIEF

The Funds and Lancer Management’s Role

36. Lancer Offshore was incorporated as an International Business
Company, or IBC, in the British Virgin Islands (“BVI”) on September 27, 1995. At the
time of its incorporation, its registered offices were at Citco Building, Wickhams Cay,
Road Town, Tortola, British Virgin Islands. In December 1998 Lancer Offshore gained
recognition as a professional mutual fund.

37. OmniFund was formed on or about April 2, 2002 through the
merger of two existing funds: The Orbiter Fund, Ltd. (“Orbiter”) and The Viator Fund
(‘Viator’). Orbiter had originally been incorporated as an IBC in the BVI on January 29,
1999 and was recognized as a professional mutual fund in February 1999. Viator had
originally been incorporated as an IBC in the BVI on September 30, 1999 and was later
also recognized as a professional mutual fund. Like Lancer Offshore, at the time of
their incorporation, both Orbitor and Viator listed their registered offices at Citco
Building, Wickhams Cay, Road Town, Tortola, British Virgin Islands (references to
“OmniFund” herein shall, unless indicated specifically to the contrary, intend to refer to

Orbiter, Viator and the OmniFund).

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38. Lancer Management was formed to manage the Funds in
exchange for receiving certain fees, based on the Funds’ performance. Lancer
Management’s advisory fee for managing Lancer Offshore was approximately 1% per
year, and was calculated by multiplying the Funds’ NAV at the beginning of each fiscal
quarter by 0.25%. Lancer Management also received an “incentive fee” equal to 20% of
the net profits of the Lancer Offshore, as calculated on the last day of the Funds’ fiscal
year. Lancer Management's advisory fee for managing Orbiter was 1.5% per year,
while its incentive fee was 50%. Lancer Management’s advisory fee for managing
Viator was 1%, while its incentive fee was 25%. Lancer Management's advisory fee for
managing OmniFund was 2% while its incentive fee was 25%.

39. Investors were solicited through letters, mailings, meetings,
marketing materials and private placement memoranda (“PPMs’”). Upon information
and belief, the PPMs for Lancer Offshore and OmniFund were substantially similar.

The Valuation Fraud

40. The Funds’ investment strategy was one purportedly “concentrated”
on investments in small and mid cap companies that were “investment community
pariahs.”

41. Over the last three years, the Funds have relied on a few
purportedly highly valued small cap issuers to comprise a substantial portion of their
portfolios. Contrary to what had been represented in the PPMs, a majority of the stocks
in which the Funds have been heavily invested were unlisted and traded on the OTCBB
and pink sheets. These stocks were thinly traded and illiquid. Despite the fact that

most of the issuers in which the Funds were heavily invested had virtually no operations

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or earnings, Defendants assigned values to them in the hundreds of millions of dollars.
For example:

e As of December 31, 2000, 2001, 2002 and April 30, 2003, Lancer Offshore held
shares and warrants in Fidelity First Financial Corporation (“Fidelity First”)
valuing them at approximately $22.55 million, $6.89 million, $46.34 million and
$64.19 million, respectively. OmniFund valued the shares and warrants it held
on those year-end dates at $9.27 million, $1.2 million and $2.09 million. In 2000,
Fidelity First exited the mortgage business and since that time has essentially
been a non-operating, shell corporation. Fidelity First, which has traded on the
pink sheets since November 1999, had no revenues for 2001 and 2002, lost
millions of dollars since 2000 and had total assets of a mere $25,101 as of
December 31, 2002.

e As of December 31, 2001 and 2002, and April 30, 2003, Lancer Offshore held
shares in Biometrics Security Technology, inc. (f/k/a Aug Corp.) (“Biometrics”),
valuing them at approximately $61.2 million, $162.55 million and $75.76 million,
respectively. OmniFund valued the shares and warrants it held on those year-
end dates at $11.56 million and $15.81 million. Biometrics’ common stock had
been quoted on the OTCBB from December 2001 through May 23, 2003. On
May 23, 2003, Biometrics was delisted from the OTCBB and it currently trades
on the Pink Sheets. In 2001, Biometrics had no revenues, negative cash flow
from operations of $385,593, and an accumulated deficit of $22,371,214.
Biometrics’ current results for all of 2002 are unknown because Biometrics’ last
public filing containing financial information was a Form 10-QSB for the period
ended September 30, 2002, at which time Biometrics reported total revenues for
the nine months of just $68,936.

e As of December 31, 2000 and 2001, Lancer Offshore held shares and warrants
in SMX Corp. (“SMX”), valuing them at approximately $152.98 million and
$133.42 million, respectively. OmniFund valued the shares and warrants it held
on those year-end dates at $8.5 million and $15.11 million. SMX has traded on
the pink sheets since December 2000. In fiscal 2000, SMX had no revenues and
a net loss of $415,356. By December 31, 2001, SMX had revenues of $99,441,
assets of a mere $1.28 million and its losses had increased to $4.31 million.

e As of December 31, 2000, 2001, 2002 and April 30, 2003, Lancer Offshore held
shares and warrants in XtraCard Corp. (f/k/a Nu-D-Zine, Inc.) (“XtraCard’),
valuing them at approximately $22.16 million, $84.12 million, $102.98 million and
$58.86 million, respectively. OmniFund valued the shares and warrants it held
on December 31, 2002 at $6.0 million. XtraCard has traded on the pink sheets
since February 2000. XtraCard earned no revenue in 2000 and 2001; in 2002 it
showed revenues of only $152,407. On December 31, 2002, XtraCard had
assets of less than $2 million.

e As of December 31, 2001, 2002 and April 30, 2003, Lancer Offshore held shares
in Total Film Group, Inc. (“Total Film”), valuing them at approximately $36.46

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million, $37.7 million and $44.06 million, respectively. OmniFund valued the
shares and warrants it held on those year-end dates at $12.1 million and $5.0
million. Total Film traded on the OTCBB from May 2001 until April 2002 at which
point it began trading exclusively on the pink sheets. In 2000-2001 Total Film
had revenues of $1.8 million and a loss of $8.95 million in the nine months
(ending March 31, 2001) before it stopped filing with the SEC.

42. The values assigned to the Funds were directly tied to the closing
prices of the securities in which the Funds were invested. The Funds’ PPM provided
that the Funds’ NAV would be calculated as follows:

[listed or quoted securities are to] be valued at their last sales prices
on the date of determination, or if no sales occurred on such date at
the mean between “bid” and “asked” prices on the most immediate
prior date on which such prices were quoted, or if no such prices
were quoted during the 15 Business Days prior to the date of such

determination, at the value reasonably assigned to such securities
and instruments by the Board of Directors.

[If securities are not listed, they] shall be valued at the mean
between the “bid” and “asked” prices on the date of determination,
or if no such prices were quoted on such date, on the most
immediate prior date on which such prices were quoted, or if no
such prices were quoted during the 15 Business Days prior to the
date of such determination, at the value reasonably assigned to
such securities by the Board of Directors..”

43. |The PPMs also contained a caveat that in the event the Board of
Directors determined that the listed valuation method did not represent its market value
the Board of Directors would value the securities as it reasonably determined.

44. As described in detail below, from at least March 2000, the NAVs
were intentionally, and fraudulently, inflated by manipulating the month end closing
prices of certain securities in which the Funds were heavily invested.

45. According to the SEC, Lauer and/or Lancer Management

purchased for the Funds substantial, sometimes controlling blocks of these thinly traded

stock in off-market trades. Subsequently, on or near monthly valuation dates, Lauer

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and/or Lancer Management purchased a smail number of additional shares at prices
that were significantly higher than the Funds’ initial acquisition price. Following the
purchase, Lauer and/or Lancer Management would calculate the value of the Funds’
entire holding of that security based on the artificial price achieved through the recent
limited value transaction at the increased price. These purchases were made with the
intent to raise the closing market price of certain stocks in the Funds’ portfolios.

46. These rigged closing prices were then used in valuing the Fund’s
securities and in calculating the Funds’ performances and NAVs which were
disseminated to investors each month and to potential investors. The inflated valuation
of these positions was provided to Citco NV and PWC NA which used the inflated
values to prepare monthly NAV statements and annual audit reports respectively. The
fraudulent performance reports induced plaintiffs to invest in the Funds and remain
invested in the Funds.

47. The purpose of such activity was to allow Lauer and Lancer
Management to “earn” millions of dollars in management and incentive fees. Lancer
Offshore’s financial statements reveal that “Management fees” of $1,524,406 were paid
in 2000 and $1,607,928 in 2001. The unaudited financial statements reveal an
additional $2,117,200 in Management fees as of June 30, 2002. Moreover, the audited
financial statements reveal that $15,915,593 and $13,548,193 in “Incentive Fees” were
payable in 2000 and 2001 respectively. These same statements reveal an additional
$44,006,726 (for 2000) and $48,264,309 (or 2001) as deferred incentive fees payable.
The unaudited financial statements reveal $8,937,540 in “Incentive Fees” payable and

$61,113,468 in deferred incentive fees payable as of June 30, 2002.

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48. This fraudulent manipulation was used for many of the securities in
which the Funds were invested, including for example, Lighthouse Fast Ferry, Inc.
(“Lighthouse”), the manipulation of which is illustrative of Lauer’s fraudulent scheme.
On October 31, 2001, Lancer Management purchased 40,000 shares of Lighthouse at
the end of the trading day, representing the largest single day volume in the month of
October. Lancer Management thereby controlled and dominated the market for
Lighthouse’s common stock and its manipulative trading caused Lighthouse’s stock
price to rise dramatically on October 31, 2001 to $2.15 per share from the previous
day's closing price of $1.60 per share (a 34% increase over the previous day). The
Funds’ complete holdings in Lighthouse were then valued at the materially overstated
value of $2.15 per share. Utilizing this technique of “Marking the Close,” Lauer
successfully manipulated the closing price of Lighthouse’s stock on April 30, 2001, June
29, 2001, July 31, 2001, August 31, 2001, September 28, 2001, November 30, 2001,
December 26, 2001, December 28, 2001 and December 31, 2001.

49. Similar trading patterns were employed in relation to other holdings,
including Biometrics Security Technology, Inc., Fidelity First Financial Corp., SMX
Corp., XtraCard Corp., Continental Southern Resources and Total Film Group. Lauer's
fraudulent scheme succeeded in significantly overstating the values assigned to Lancer
Offshore Fund’s stock portfolio. While the book (cost) value of Lancer Offshore Fund’s
portfolio as of December 31, 2002 was $259,307,486, the reported value was
$824,523,879. This unrealized increase in value was not based on any actual increase

in value but was the result of Lauer’s manipulation of the NAV.

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50. Lancer Offshore Fund’s annual report for 2000, which was audited
by PWC NA, stated that the Fund’s NAV for the month ending December 31, 2000 was
$840.22 per share. Upon information and belief, at the time, this valuation was
materially false and grossly overstated the actual NAV.

51. In 2002, Lauer and Lancer Management reported that Lancer
Offshore Fund’s NAV for the month ending December 31, 2001 was $915.43 per share.
Upon information and belief, at the time, this valuation, again audited and certified by
PWC NA, was materially false and grossly overstated the actual NAV.

52. In 2003, Lauer and Lancer Management reported that Lancer
Offshore Fund’s NAV for the month ending December 31, 2002 was $768.46 per share.
Upon information and belief, this valuation was materially false and grossly overstated
the actual NAV.

Additional Material Misrepresentations and Omissions

53. In addition, Lauer made other materially false and misleading
statements in various offering materials and newsletters about the Funds’ holdings,
performances, values and management backgrounds.

54. For example, the Funds’ PPMs misrepresented the type of
investments the Funds would make. Specifically, the PPMs represented that most
investments made by the Funds would trade on “listed exchanges.” In truth, a majority
of the Fund’s investments were and are on unlisted exchanges such as the OTCBB or
pink sheets. The PPM also stated, under a section titled “Investment Restrictions,” that
the Fund would not allow any one investment to comprise more than 20% of its total

assets and that the “Fund may not take or seek to take legal or management control of

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the issuer of any of its underlying investments.” In direct contravention of these
restrictions, the Funds at various times allowed more than 20% of their assets to be
invested in a single company (often the same ones whose “value” was being
fraudulently manipulated) and repeatedly acquired controlling stakes in several of the
companies in which they were invested, whose “valuation” they later grossly inflated.

55. Monthly newsletters and other marketing materials sent by Citco
NV and Lauer to investors were also replete with falsehoods about the Funds’ holdings
and performance.

Participation of the Director Defendants

56. The PPMs represented that the Funds’ Board of Directors would
review the values assigned to the securities held by the Fund and, if the valuations did
not fairly present those values, the Board would value the securities reasonably and set
forth the valuations in writing. The audited financial statements for 2001 (and the
restated audited financial statements for 2000) state that “in accordance and in
conformity with the Fund’s Placement Memorandum, the Board of Directors in
conjunction with the investment manager determine at what value the investment
securities are reported for the determination of the net asset value of the Fund.”

57. The audited financial statements for 2001 (and the restated audited
financial statements for 2000) state that the Board of Directors of the Offshore Fund
determined the value of 100% of the Fund’s securities.

58. On information and belief, the Director Defendants failed to

exercise independent judgment and appropriate care and attention with respect to the

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determination of the Funds’ NAV. They likewise knew or were reckless in not knowing
that the Funds’ holdings were overvalued and their NAV grossly inflated.

59. The Director Defendants owed a fiduciary duty to the Funds and
their shareholders to examine the valuation methodologies applied by Lauer in
determining the NAV. The Director Defendants further owed a fiduciary duty to the
Funds and their shareholders to reasonably determine substitute methodologies in the
event that they determined that the valuation methodologies applied by Lauer did not
result in reasonable and accurate market values. The Director Defendants failed to
satisfy these fiduciary duties by allowing the materially false and misleading statements
of the Funds’ NAV to be disseminated to investors, including plaintiffs.

Citco NV’s Wrongful Conduct

60. At all relevant times until September 2002, Citco NV served as
administrator to the Funds.

61. Citco NV was to provide various administrative services to the
Funds, including, inter alia: (a) preparing and maintaining all customary financial and
accounting books and records; (b) disseminating the Funds’ NAV _ information;
(c) preparing, or causing to be prepared, and disseminating the annual financial
statements of the Funds, as well as quarterly reports regarding the NAV of the Funds;
and (d) performing all other accounting and clerical services necessary in connection
with the administration of the Funds.

62. According to Citco NV’s marketing materials, Citco NV maintains
“the accounting records of a fund on an independent basis” and prices the fund’s

portfolio “using recognized data vendors’.

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63. Materials prepared by Citco NV and provided to certain investors in
the Funds specifically stated that Citco NV has policies, procedures and safeguards in
place to ensure that valuations would be done accurately and fairly. These materials
also stated that Citco NV “ensure[s] that we rely on third-party information on trades,
portfolios and prices, and reconcile them to manager reports to ensure the
independence of the valuation produced” and that Citco NV itself prepares monthly
NAV calculations for the Funds.

64. During the relevant time period Citco NV assigned at least three of
its officers, defendants Conroy, Stocks and Quilligan, to serve as Directors of the
Funds. Upon information and belief, the Citco Directors undertook the assignment in
furtherance of their duties on behalf of Citco NV and to help Citco NV retain the Funds
as clients.

65. John M.S. Verhooren, a former director of Lancer Offshore and a
Citco NV employee, writing for an industry publication in May 2003, stated that one of
the guiding principles of a hedge fund administrator is to provide an honest interface
between the investor and the fund. According to Verhooren, an administrator's “raison
d'etre” is to serve the interests of the investors by providing them with the independent,
accurate and timely information they need to make informed decisions about their
investments. He went on to note that ‘pricing’ is central to the role of a fund
administrator and that “a good administrator will always have insisted on independent
pricing, and will terminate a contract with a hedge fund if they cannot agree with its

primary methodology.”

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66. Similarly, Declan Quilligan, identified at the time as General
Manager and Managing Director of Citco NV was quoted in a 2001 article on the role
Citco NV provides as follows: “Independence combined with an accurate, timely and
professional service is how we can ‘add value’ to the finished product and to our
clients.... The shareholders are our ultimate client... and they rely on our experience
and time in the industry — which is since the very beginning — and take confidence from
our subsequent position as a market leader. Our involvement means they don't have to
entirely rely on the investment manager.” The article goes on to note that Citco NV’s
centralized funds department allows Citco NV’s 30 staff personnel to provide
shareholder services to Citco NV funds whether they are administered in Curacao, the
United States or elsewhere. Quilligan cites such integration as important in providing
client services.

67. Each month, Citco NV distributed to each shareholder of the Funds
a statement setting forth the NAVs of the Funds. Plaintiffs reasonably expected that
Citco NV would accurately report the Funds’ NAV. As described above, each of these
statements was materially false. Citco NV failed to independently value the portfolios
and instead slavishly adhered to the valuations provided by Lauer.

68. Citco NV also sent to investors and shareholders periodic reports
prepared by Lauer and/or Lancer Management, all of which contained materially false
information about the Funds’ NAVs, their holdings, and the performance of their portfolio
companies.

69. Through the intimate involvement of the Citco Directors in the

affairs of the Funds, they (and Citco NV through them) had access to non-public

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information concerning the Funds’ financial affairs and business practices, including
periodic internal reports detailing revenues, holdings and other financial information.

70. Thus, the Citco Directors knew, or should have known, that the
Funds’ NAV’s were materially inflated. This knowledge must be imputed to Citco NV.

71. Citco NV knew or was reckless in not knowing that the Funds’
holdings were overvalued and that their performance and NAV’s were grossly
overinflated. Citco NV likewise knew or was reckless in not knowing that the statements
and information it provided to investors concerning the Funds’ performance and NAVs
were materially false and misleading.

72. Citco NV resigned as administrator of the Offshore Fund in
September 2002. Upon information and belief, it knew, at that time, of significant
irregularities in the conduct of the Funds, but failed to disclose those irregularities to
shareholders and prospective investors, including plaintiffs.

PWC NA’s Wrongful Conduct
73. PWC NA knew that, at least beginning in October 1999, the Funds’

PPMs_ identified “Pricewaterhouse Coopers” as the auditors and “Chartered
Accountants” of the Funds.

74. PWC NA audited Lancer Offshore’s financial statements for the
years ended December 31, 1997, 1998, 1999, 2000 and 2001. Upon information and
belief, PWC NA also audited Viator’s financial statements for the fiscal year ended
September 30, 2000 and the Orbiter’s financial statements for the year(s) ended
December 31, 1999 and/or 2000.

75. PWC NA’s opinion letters stated that it had conducted its audits in

accordance with international auditing standards. This refers to standards established

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by the International Auditing and Assurance Standards Board, which functions as an
independent standard setting body under the auspices of the International Federation of
Accountants (“IFAC”). IFAC issues International Standards on Auditing (“ISA”), which
are similar to those issued by the American Institute of Certified Public Accountants and
the Public Company Accounting Oversight Board.

76. Each year, PWC NA issued a “clean” unqualified report attesting to
the accuracy of Lancer Offshore’s financial statements. These audit reports were
specifically addressed to the investors in the Funds and distributed to the investors
through Citco NV.

77. PWC NA’s audit opinions for Lancer Offshore each year included
the following statement for the year under examination (with the audit opinions for the
year ended December 31, 2000 also representing that PWC NA had confirmed the
securities owned by correspondence with the custodian):

We have audited the accompanying statement of assets and
liabilities of [the Fund] as of December 31, .... and the
related statement of operations, changes in shareholders’
equity and cash flows for the year ended December 371, ....
These financial statements are the responsibility of the
Fund’s management. Our responsibility is to express an
opinion on these financial statements based on our audit.

We conducted our audit in accordance with international
standards on auditing. Those standards require that we plan
and perform the audit to obtain reasonable assurance about
whether the financial statements are free of material
misstatement. An audit includes examining, on a test basis,
evidence supporting the amounts and disclosures in the
financial statements. An audit also includes assessing the
accounting principles used and significant estimates made
by management, as well as evaluating the overall financial
statement presentation. We believe that our audit provides a
reasonable basis for our opinion.

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78. The audit opinions went on to state that: “In our opinion the
financial statements referred to above present fairly, in all material respects, the
financial positions of [the Funds], as of December 31, ... and the results of its
operations, changes in shareholders’ equity and cash flows for the year ended
December 31, ... in conformity with international accounting standards.”

79. PWC NA’s audit opinions for at least the years ended December
31, 2000 and December 31, 2001 falsely stated that the firm's audits of the Offshore
Fund had been conducted in accordance with international standards on auditing. Its
representations were false because, upon information and belief, PWC NA did not plan
and perform its audits to obtain reasonable assurances that the Funds’ financial
statements were free of material misstatements, and did not examine evidence
supporting the valuation amounts and disclosures in the financial statements. PWC
NA’s audits therefore did not “provide a reasonable basis for [its] opinion” and, by
stating to the contrary, the opinions were entirely false.

80. Upon information and belief, similar statements were contained in
PWC NA’s audit reports for the Viator and Orbiter Funds as well.

81. PWC NA wilifully, recklessly and/or grossly failed in its stated
“responsibility to express an opinion on [the Funds’ financial statements based on our
audit.” PWC NA misrepresented in its opinions that the Funds’ financial statements
were presented in accordance with international accounting standards, and that its
audits were performed in accordance with international standards on auditing.

82. ISA 200 requires an auditor to plan and perform an audit with an

attitude of professional skepticism, which is necessary for the auditor to identify and

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properly evaluate matters that increase the risk of material misstatements resulting from
fraud or error (for example, management's characteristics and influence over the
internal control environment, industry conditions, and operating characteristics and
financial stability). Thus, representations by management would ordinarily be expected
to be supported by other evidence and would not be assumed to be necessarily correct.

83. The Funds’ claims of steadily increasing NAV’s, in a declining
market and when its portfolio consisted of small companies whose securities were thinly
traded, should have met with skepticism on the part of PWC NA, but did not. After the
end of 1999, the global equity markets declined significantly and investors generally
suffered negative returns for 2000, 2001 and 2002, but Lancer Offshore, according to
Lauer and Lancer Management, earned approximately $100 million in each of 2000 and
2001. PWC NA, which (unlike most of the Funds’ investors) knew the companies in
which the Funds were invested, should have been skeptical of these performance
claims and should have employed procedures to verify those claims, but did not.

84. Additionally, PWC NA should have recognized a variety of “red
flags” raised by the information it was receiving including, but not limited to: (a) many of
the companies whose shares were held by the Funds shared a common address in
Boca Raton, Florida; (b) personnel associated with the Funds and/or Lancer
Management had previously been barred by governmental agencies from working with
public companies and brokers; and (c) Lauer himself reportedly poured millions of
dollars into films being produced by Total Film, a company in which the Funds held

large positions.

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85. PWC NA knew that the valuation of the Funds’ portfolios were
subject to a high degree of uncertainty. The 2001 notes to the financial statements of
Lancer Offshore, noted that:

Due to the characteristics of certain investment securities of

the Fund combined with limited trading volumes of such

securities, the Board of Directors in conjunction with the

investment manager estimated the fair values of such

securities based on a methodology developed by the

investment manager. The total value of investment

securities of the Fund which were subjected to such

valuation procedures at year-end amounted to USD

827,020,243 which represents 100% of investment securities

of the Fund.

86. Knowing that the valuations of the Funds were dependent on
judgments made by management and the Board of Directors, PWC NA was required to
engage in such auditing procedures as were necessary to afford a reasonable opinion
regarding the fairness of those valuations. Had PWC NA conducted an audit
appropriate for these circumstances, it would not have been able to issue an unqualified
opinion on the Funds’ financial statements.

87. PWC NA should have added an explanatory paragraph to its
standard reports to emphasize the uncertainty of the valuation of the market prices of
the Funds’ investments. PWC NA also should have expressly stated that a large
portion of the Funds’ portfolio was subject to good faith valuation estimates by the
Funds’ Board of Directors in view of the absence of readily ascertainable market values.

88. Because PWC NA accepted valuations for the Funds’ portfolio
companies that the SEC has subsequently described as “outlandish”, PWC NA’s audits
of Lancer Offshore for at least 2000 (NAV of $840.22 per share) and 2001 (NAV of

$915.43 per share) were materially false and misleading.

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89. On information and belief, the appraisals prepared for the Funds’
holdings, which PWC NA accepted in rendering its opinion, closely approximated the
values assigned to the Funds’ holdings based on the manipulated closing prices at
month end. These appraisals were, however, fatally flawed and did not reflect the true
values of the Funds’ holdings under the generally accepted Uniform Standards of
Professional Appraisal Practice or the American Society of Appraisers Business
Valuation Standards. In particular, the valuations were improperly based on unreliable
market prices of thinly traded securities; unjustified prices of private transactions in
thinly traded securities; unfounded, baseless and unrealistic projections; hypotheticals;
and/or an averaging of various factors. Indeed, under accepted standards of valuing
businesses, certain of the Funds’ holdings were and/or are essentially worthless.

90. That PWC NA’s audits of the value of the Funds’ investments were
fraudulent or recklessly negligent is illustrated by the facts relating to Lancer Offshore’s
investment in Biometrics (formerly AUG). Upon information and belief, at some point in
December 2001 Lancer Offshore acquired 18,000,000 shares of Biometrics for
approximately $500,000, or less than 3 cents a share. These shares were then valued
at $61.2 million as of December 31, 2001, based on the fact that a mere 1,800 shares of
Biometrics traded at $3.40 per share on December 31, 2001. This $61.2 million
valuation is almost 100 times the underlying value of the assets of Biometrics as
disclosed by Biometrics’ auditors as of December 31, 2002.

91. On information and belief, Lancer Offshore delivered an appraisal
of Biometrics to PWC NA to support the valuation that the Board of Directors assigned

to the investment which did not comport with the generally accepted Uniform Standards

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of Professional Appraisal Practice or the American Society of Appraisers Business
Valuation Standards.

92. Biometrics had no revenue for 2000 or 2001, had a negative cash
flow from operations for the year ended December 31, 2001 of $281,593 and had total
stockholder equity as of December 31, 2001 of $629,000, entirely in cash. The
company’s financial statements as of September 30, 2001 indicated the the company
had accumulated net losses from operations of $22,175,121 and that the company’s
ability to continue as a going concern was dependent on the ability to raise additional
capital and implement its business plan.

93. Notwithstanding the fact that Biometrics had no revenues, and that
Biometrics had stated that it faced bankruptcy if it did not receive additional financing, its
operating plan forecast revenues of tens of millions of dollars.

94. PWC NA signed off on a “gain” of $60.7 million on Biometrics in the
month of December 2001, notwithstanding (i) its knowledge of the pennies per share
paid by Lancer Offshore for Biometrics earlier that month; (ii) the short interval between
the acquisition of the bulk of the shares by Lancer Offshore versus the trade date
utilized for valuation; (iii) the dramatic discrepancy between the price paid by Lancer
Offshore for the bulk of its shares versus the price at which it “bought” at month end on
the OTC market; and (iv) the patent lack of reliability of the appraisal, which disregarded
Biometrics’ own balance sheet that showed no asset value, and also disregarded
Biometrics’ auditor's qualified opinion questioning whether Biometrics would be able to

continue as a going concern.

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95. Other companies in the Funds’ portfolios were the subject of
equally shoddy and useless valuations, which PWC NA, on even a rudimentary review,
should have concluded were insufficient to support the valuations on which PWC NA
was asked to sign off.

96. The facts known at the time of PWC NA’s audits of the Funds’
investments should have heightened PWC NA’s skepticism. PVC NA knew that the
bulk of the Funds’ investments were purchased by the Fund for pennies per share in off-
market transactions. These penny stocks were written up by tens of millions of dollars
just days or months later based on a “marking the close” scheme and were reflected in
the financial statements as hundreds of millions of dollars of “unrealized gains.” The
“unrealized gains” number was of particular significance in PWC NA’s performance of
the audit because those gains were a factor in determining both the Funds’ NAV and
Lancer Management's fee of 20% of the Funds’ gains.

97. Even a cursory examination by PWC NA of the portfolio company
valuations that were provided to PWC NA would have revealed that the claimed values
were totally unsupported by the facts, and the valuations were worthless.

98. As PWC NA’s opinion letters highlight, a central function of its audit
was to “assess the accounting principles used and significant estimates made by
management, as well as evaluating the overall financial statement presentation.” This is
precisely what PWC NA failed to do.

99. Under ISA 24, transactions between entities that are “related
parties” must be disclosed in the financial statements of the reporting entity. PWC NA

failed to cause the Funds to disclose the extensive related party transactions into which

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Lauer and Lancer Management caused the Funds to engage. Portfolio companies had
common directors, Lancer Management and Lauer had relationships with those
persons, and funds controlled by Lancer Management were invested in some or all of
the same securities that the Funds were invested.

100. ISA 120, Section 19 also provides that, by contributing its name to
the offering documents used by the Funds to promote the sale of their shares, PWC NA
was attesting to the accuracy of the information contained in those documents.

101. PWC NA failed, inter alia (i) to exercise due professional care in the
performance of the audits and the preparation of the reports; (ii) to obtain a level of
knowledge of the Funds’ business that would enable PWC NA to plan and perform its
audits in accordance with international auditing standards, including an understanding
of the events, transactions, and practices that could have a significant effect on the
financial statements; (iii) to properly study and evaluate the Funds’ internal controls; (iv)
to obtain sufficient, competent evidential material to provide it with a reasonable basis
for forming an opinion in each of its audits of the Funds; and (v) to satisfy itself that the
financial disclosures were adequate.

102. PWC NA knew or should have known that its clean audit reports
were material to investors’ decisions to purchase shares in the Funds and to refrain
from redeeming their investments. Shares of the Funds were not publicly traded.
Hence, no independently verified third-party financial information about the Funds or
their performance was available to investors or prospective investors in the Funds other

than PWC NA’s audit report and the audited financial statements.

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B of A’s Wrongful Conduct

103. B of A was the prime broker and the custodian for the Funds.
Among other things, it held certain of the Funds’ securities in custody. Upon information
and belief, at least through December 3, 2001, B of A held in custody for the Funds
virtually all of the Funds’ positions.

104. Upon information and belief, B of A permitted Lauer, acting on
behalf of the Funds, to regularly dial-in to its computer network and to enter the Funds’
positions into an electronic database from which documents entitled “Bank of America
Position Reports” (“B of A Position Reports”) could be printed.

105. Upon information and belief, Lauer also sent valuation information
directly to B of A, sometimes by facsimile, and B of A employees entered this
information directly into the B of A Position Reports, without verifying its accuracy.

106. Once information was entered into the database, B of A Position
Reports could be printed and/or downloaded. In fact, such reports were printed out and
provided to various third parties, including but not limited to Citco NV and PWC NA, who
relied upon them for purposes of valuing and/or auditing the Funds. The printed B of A
Position Reports were captioned “Banc of America Securities, LLC; Client Position
Summary by Asset Class.” These reports were also at times provided to investors and
prospective investors, including The Pension Committee of the University of Montreal
and Fondation Chagnon, who relied on the reports when making investment and
retention decisions.

107. B of A knew, or should have known, that Lauer, and/or those
working on his behalf, would distribute the B of A Position Reports to third parties and/or

that Lauer was using the B of A Position Reports for these purposes. B of A also knew,

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or should have known, that the hard copy printouts of the B of A Position Reports had
its name emblazoned across the top of the report.

108. B of A’s actions substantially assisted Lauer in carrying out the
fraudulent scheme described herein. B of A’s policy of allowing Lauer to gain direct
access to its computer system and distribute B of A Position Reports to PWC NA and
Citco NV helped Lauer to conceal the true value of the Funds’ portfolio.

IFS’ Wrongful Conduct

109. In or about September 2002, IFS replaced Citco NV as
Administrator of the Funds.

110. IFS also distributed fraudulent NAV reports to plaintiffs for at least
the months of October 2002, November 2002, December 2002.

111. IFS did not perform an independent valuation of the Funds’ NAV.
Instead, IFS negligently relied on Lauer’s fraudulent valuations.
Reliance

112. Plaintiffs all reasonably relied upon the representations regarding
the Funds’ NAVs and other statements made in the NAV statements, audit reports,
PPMs, performance reports and other communications from Lauer and the Funds’
service providers in deciding to invest in and/or remain invested in the Funds.
Alternatively, as the reported NAV, a figure that was solely within the control of the
defendants, was the only measure by which shares in the Funds could be evaluated
and purchased, plaintiffs are entitled to a presumption of reliance.

The Funds’ Collapse and Lawsuits

113. Following a series of negative news stories, beginning in the Fall of

2002, investors in the Funds began to make significant redemption requests, which the

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Funds did not have the liquidity to satisfy. Lawsuits by investors in Lancer Partners
were commenced in the winter of 2003 seeking, among other things, Investors
redemptions.

114. On April 16, 2003, Lancer Partners filed for bankruptcy in the
United States Bankruptcy Court for the District of Connecticut.

115. On May 2, 2003 the Financial Services Commission (“FSC”), an
enforcement agency of the British Virgin Islands roughly equivalent to the SEC,
instituted an action in The Eastern Caribbean Supreme Court in the High Court of
Justice in the Virgin Islands against Lancer Offshore and the OmniFund. In that action
the FSC seeks the appointment of a liquidator to wind up the Funds in an orderly
fashion. The FSC retained Deloitte & Touche to assist the FSC in reviewing the affairs
and circumstances of the Funds. In connection with that engagement, Deloitte &
Touche prepared two substantive reports (the “Deloitte Reports”), which detail some of
the fraudulent conduct engaged in by the Funds.

116. On July 8, 2003 the Securities and Exchange Commission (the
“SEC”) commenced an action by filing a Complaint for Injunctive and Other Relief
against numerous individuals and entities involved with the Funds (the “SEC Action’).
At the SEC’s request, a receiver has been appointed for Lancer Management Group,
LLC, Lancer Management Group II, LLC, Lancer Offshore, Inc., OmniFund, Ltd., LSPV,
Inc. and LSPV, LLC and their subsidiaries, successors and assigns.

117. Several investors have commenced individual and class actions
entitled AXA Alternative Advisers, Inc. et al. v. John W. Bendall, Jr., et al., No. 03-CV-

6763 (S.D.N.Y.), Bruhl v. PricewaterhouseCoopers International Ltd., et al., No. 03-CV-

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6644 (S.D.N.Y.) and Rotman v. John W. Bendall, Jr., et al., No. 03-23044-CV (S.D.
Fla.).

118. Unless otherwise noted, the foregoing allegations, except for
allegations relating to the plaintiffs, are based upon information and belief, which belief
is based upon an investigation conducted by counsel. Allegations regarding the nature
of the fraud at issue herein and the involvement of the defendants in that fraud are
based primarily upon: a) the Funds’ Offering Memoranda, marketing materials, monthly
performance reports and other communications from Lauer to plaintiffs’; b) the PWC NA
audit reports; c) monthly statements prepared by Citco NV and IFS; d) information
provided by various confidential sources to the plaintiffs, directly or indirectly; e) articles
published by the media; f) the complaint in the SEC Action; (g) the complaints in actions
brought by other investors; h) the Deloitte Reports; and i) pleadings and other materials
filed by the Receiver.

FIRST CLAIM FOR RELIEF

(Against the Director Defendants for Violations of Section 10(b)
of the Securities Exchange Act of 1934 and Rule 10b-5 thereunder)

119. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

120. This claim is brought against defendants Bendall and Geist on
behalf of those plaintiffs who purchased all or some of their shares in the Funds after
the date on which Bendal and Geist became directors of the Funds. This claim is
brought against the Citco Directors on behalf of those plaintiffs who purchased all or
some of their shares in the Funds after March 2000 and at a time during which the Citco

Directors served as a director for the fund in which such shares were purchased.

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121. Lauer represented to plaintiffs that:
a. The majority of the stocks in which the Funds would invest
would be traded on the New York Stock Exchange, the American Stock

Exchange or in the over-the-counter-market in the United States of
America;

b. No more than 20% of the Funds’ gross asset value would be
invested in any one company;

c. The Funds would not take legal or management control of
any of the companies into which they invested.

122. Each of these representations were false because from at least as
early as December 2000:

a. The Funds invested almost exclusively in stocks traded
either in the over-the-counter-market or on the pink slips;

b. The Funds, at various times, invested more than 20% of
their assets in a single company;

C. The Funds took controlling stakes in many of the companies
into which they invested.

123. The Director Defendants intentionally and recklessly authorized or
permitted Lauer and Lancer Management to report materially false and misleading
information to plaintiffs regarding the Funds’ investments including, but not limited to,
fraudulent NAVs.

124. The Director Defendants knew or recklessly disregarded the fact
that the false and misleading information about the Funds’ investments would be
included in the NAV statements, monthly newsletters and offering materials sent to the
plaintiffs. The Director Defendants further knew that plaintiffs would rely on this false
and misleading information in making decisions on whether to purchase and retain
shares in the Funds.

125. The Director Defendants further knew and intended that the false

information about the Funds’ investments would be included in the Funds’ audited

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financial statements, and that such audited financial statements would be sent to
plaintiffs. Once again, the Director Defendants knew that plaintiffs would rely on this
false and misleading information in making decisions on whether to purchase and retain
shares in the Funds.

126. The plaintiffs relied upon these misstatements in making
investment and retention decisions with respect to the shares of the Funds. Plaintiffs
would not have purchased the securities of the Funds at the prices they did, or at all, if
they had known that the statements made and/or caused to be made by the Director
Defendants were materially false and misleading and/or omitted to state material facts
necessary in order to make the statements accurate. Furthermore, had they known of
such misstatements, the plaintiffs would have divested themselves of any securities
they had purchased in the Funds.

127. By virtue of the foregoing, the Director Defendants violated § 10(b)
of the Securities Exchange Act of 1934 and Rule 10b-5 promulgated thereunder in that
they, directly or indirectly, by use of means and instrumentalities of interstate commerce
and/or the mails, engaged and participated in a continuous course of conduct whereby
they knowingly and/or recklessly made material misrepresentations and failed to correct
misrepresentations which were materially false and misleading in light of the
circumstances in which they were made, employed devices, schemes and artifices to
defraud, participated in the fraudulent manipulation and engaged in acts and practices
and a course of business that operated as a fraud and deceit upon plaintiffs in

connection with their purchase of shares of the Fund.

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128. The misrepresentations were made in connection with the purchase
by plaintiffs of shares in the Funds and to induce them to purchase and retain such
shares. Plaintiffs were thereby damaged as a result.

129. By reason of the foregoing, the plaintiffs are entitled to a judgment
against the Director Defendants awarding the plaintiffs compensatory damages in an
amount to be determined at the trial of this action, together with interest at the statutory
rate.

SECOND CLAIM FOR RELIEF

(Against the Director Defendants for Common Law Fraud)

130. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

131. As set forth more fully above, the Director Defendants knowingly
and/or recklessly made numerous false and misleading statements of material fact and
omitted to state material facts regarding the management, performance and value of the
Funds to plaintiffs.

132. The Director Defendants, in the PPMs and other offering material,
made fraudulent statements concerning the types of investments the Funds would make
and the manner in which holdings would be valued, falsely representing that the Funds’
assets would be valued using appropriate and reasonable methodology. The Director
Defendants also allowed repeated false and fraudulent statements concerning the
Funds’ performance to be disseminated to investors.

133. Each of these defendants knew, or was reckless in not knowing,

that their conduct constituted a fraud on the plaintiffs and would result in, and did in fact

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result in, the purchase of Fund shares by the plaintiffs at inflated prices, the retention of
such shares and the subsequent loss of a substantial portion of plaintiffs’ investments.

134. These defendants made the material misrepresentations, and
omitted to disclose the material facts, herein alleged with the intention of inducing the
plaintiffs to purchase and retain securities in reliance thereon.

135. Plaintiffs reasonably and_ justifiably relied on Lauer's
misrepresentations and omissions in deciding to purchase and/or retain shares in the
Funds.

136. Each of the plaintiffs has been damaged by these defendants’
wrongful conduct in that the defendants’ wrongful conduct caused each of them to
purchase and/or hold shares in the Funds at inflated values and/or to retain those
shares until such time as the Funds were unable to honor redemption requests, causing
each plaintiff to lose a substantial portion of its investment.

137. The fraudulent conduct of these defendants, as outlined above,
was done purposefully, maliciously, recklessly and without regard for the rights and
interests of the plaintiffs.

138. By reason of the foregoing, the plaintiffs are entitled to a judgment
against the Director Defendants, jointly and severally, awarding the plaintiffs
compensatory and punitive damages in an amount to be determined at the trial of this

action, together with interest at the statutory rate.

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THIRD CLAIM FOR RELIEF
(Against the Director Defendants for Breach of Fiduciary Duty)

139. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

140. The Director Defendants owed the highest obligations and fiduciary
duties to the plaintiffs, who are shareholders of the Funds. These defendants were duty
bound to act in a responsible and lawful manner, in utmost good faith, and in
accordance with the representations on which the plaintiffs relied in entrusting their
monies to these defendants, so as not to cause injury to the plaintiffs.

141. These defendants each owed directly to each of the plaintiffs, as
shareholder of the Funds, the duty to exercise due care and diligence in the
management and administration of the Funds and in the use and preservation of the
plaintiffs’ property and assets. These defendants also each owed directly to the
plaintiffs the duties of full and candid disclosure of ail material facts relevant to the
Funds and duties to deal fairly and honestly with the plaintiffs. These defendants were
obligated to ensure that Lauer and Lancer Management did not engage in any
fraudulent, unsafe or unsound valuation practices.

142. In engaging in the conduct alleged herein, including, but not limited
to, falsely reporting values of the plaintiffs’ investments, these defendants repeatedly
breached their fiduciary and related obligations to the plaintiffs.

143. Each of the plaintiffs has been damaged by the wrongful conduct of
these defendants in that the plaintiffs were induced to purchase and/or hold shares in

the Funds at inflated values until such time as the Funds were unable to honor

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redemption requests, causing each plaintiff to lose a substantial portion of its
investment.

144. The conduct of these defendants was purposeful and it departed in
the extreme from the norms expected of such persons. Lauer and the Director
Defendants cavalierly disregarded their duties to, and the interests of, the plaintiffs.

145. By reason of the foregoing, the plaintiffs are entitled to a judgment
against these defendants, jointly and severally, awarding them compensatory and
punitive damages in an amount to be determined at the trial of this action, together with
interest at the statutory rate.

FOURTH CLAIM FOR RELIEF

(Against the Director Defendants
for Negligence and Negligent Misrepresentation)

146. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

147. Each of the Director Defendants had a duty to the plaintiffs to
accurately value the Funds’ portfolios.

148. Even if there was no intent to defraud, the Director Defendants also
acted negligently and carelessly in reporting to investors artificially inflated values for
the portfolio. The Director Defendants acted negligently and carelessly by permitting
these artificially inflated portfolio valuations to be reported to investors and potential
investors.

149. The Director Defendants made the material misrepresentations and
omissions alleged above with the intention of inducing plaintiffs to purchase and retain

their investments in reliance thereon.

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150. Plaintiffs reasonably and justifiably relied on these defendants’
misrepresentations and omissions, and the false information supplied by these
defendants, in both purchasing and retaining securities. Plaintiffs also reasonably relied
on the Director Defendants to oversee the Funds and manage and/or value the
portfolios competently and in keeping with their representations.

151. Plaintiffs were damaged by these defendants’ negligent and/or
grossly negligent conduct. Plaintiffs would not have purchased their shares in the
Funds and/or would have divested them sooner had they known that these defendants
had engaged in the negligent and/or grossly negligent conduct alleged herein.

152. By reason of the foregoing, the plaintiffs are entitled to a judgment
against the Director Defendants, jointly and severally, awarding the _ plaintiffs
compensatory damages in an amount to be determined at the trial of this action,
together with interest at the statutory rate.

FIFTH CLAIM FOR RELIEF
(Against Director Defendants for Aiding and Abetting Common Law Fraud)

153. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

154. The Director Defendants played a significant and vital role in the
fraudulent scheme alleged herein, with knowledge or reckless disregard thereof.

155. The Director Defendants knew or should have known that the
information being disseminated by Lauer was fraudulent and that such information

would be relied upon by investors.

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156. Instead, the Director Defendants knowingly or recklessly failed in
their role. The Director Defendants knowingly and substantially aided and abetted the
fraud committed by allowing Lauer to disseminate the fraudulent monthly statements
and performance reports, failing to verify that the NAV’s were consistent with market
value, failing to conduct any independent valuation of the Funds’ portfolios and/or
participating in the fraudulent valuations.

157. The conduct of the Director Defendants proximately caused
significant damage to the plaintiffs. The fraud could not have succeeded without the
active and knowing participation of the Director Defendants.

158. Each of the plaintiffs has been damaged by the wrongful conduct of
the Director Defendants in that the plaintiffs were induced to purchase and/or hold
shares of the Funds at inflated values, and to retain those shares until such time as the
Funds were unable to honor redemption requests, causing each plaintiff to lose a
substantial portion of its investment in the Funds.

159. The Director Defendants’ conduct was purposeful and malicious, or
reckless, and departed in the extreme from the norms expected of fund directors. The
Director Defendants cavalierly disregarded their duties to, and the interests of, the
plaintiffs.

160. By reason of the foregoing, plaintiffs are entitled to a judgment
against the Director Defendants, jointly and severally, awarding the plaintiffs
compensatory and punitive damages in an amount to be determined at the trial of this

action, together with interest at the statutory rate.

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SIXTH CLAIM FOR RELIEF

(Against The Director Defendants for Aiding and Abetting
Breach of Fiduciary Duty)

161. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

162. The Director Defendants knew or recklessly disregarded the fact
that Lauer owed fiduciary and other obligations to the plaintiffs, and knew or recklessly
disregarded the fact that Lauer was breaching said obligations by engaging in the
conduct alleged herein.

163. With such knowledge, the Director Defendants knowingly
participated, aided and abetted, and otherwise conspired to bring about Lauer's
breaches of fiduciary obligations by, inter alia, allowing Lauer to disseminate the
fraudulent NAV and performance information, failing to verify that the NAV’s were
consistent with market value, failing to conduct any independent valuation or
assessment of the Funds’ portfolios and/or participating in the fraudulent valuations.

164. Based on the information that they had, the Director Defendants
knew or should have known that Lauer was breaching his fiduciary duties to plaintiffs in
this manner.

165. Each of the plaintiffs has been damaged by the wrongful conduct
of the Director Defendants in that the wrongful conduct caused each plaintiff to
purchase and/or hold shares in the Funds at inflated values until such time as the Funds

were unable to honor redemption requests, causing each plaintiff to lose a substantial

portion of its investment.

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166. The Director Defendants’ wrongful conduct, as alleged herein, was
done purposefully, maliciously, recklessly, and without regard for the rights and
interests of the plaintiffs.

167. By reason of the foregoing, the plaintiffs are entitled to a judgment
against the Director Defendants, jointly and severally, awarding the plaintiffs
compensatory and punitive damages in an amount to be determined at the trial of this
action, together with interest at the statutory rate.

SEVENTH CLAIM FOR RELIEF

(Against Citco NV for Violations of Section 10(b) of the
Securities Exchange Act of 1934 and Rule 10b-5 thereunder)

168. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

169. This claim is brought on behalf of only those plaintiffs who
purchased all or part of their shares in the Funds after March 2000.

170. Citco NV disseminated materially false and misleading NAV
statements and performance information to plaintiffs. Citco misrepresented that it would
follow the policies and procedures that it had in place to ensure the accurate valuation
of the Funds’ NAV.

171. Citco NV also furnished materially false and misleading financial
information regarding the Funds to PWC NA and distributed false and misleading
financial statements and audit reports for the Funds and PWC NA to investors, including
plaintiffs.

172. Citco NV possessed, or had access to, information about the

Funds’ positions which revealed that the portfolios were not being properly valued.

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Among other things, defendants Conroy, Stocks and Quilligan were directors of the
Funds and as directors knew, or should have known, that the valuations provided by
Lauer and Lancer Management to Citco NV were false. Their knowledge must be
imputed to Citco NV.

173. Moreover, Citco NV knew or recklessly disregarded that investors,
including plaintiffs, would rely upon the materially false and misleading financial
statements and audit reports for the Funds that it distributed in deciding to invest in and
remain invested in the Funds.

174. The plaintiffs relied upon these misstatements in deciding to
purchase shares of the Funds. Plaintiffs would not have purchased the securities of the
Funds if they had known that the materials being distributed by Citco NV, including
statements made and/or caused to be made by the Director Defendants and the audit
reports and financial statements, were materially false and misleading and/or omitted to
state material facts necessary in order to make the statements accurate. Furthermore,
had they known of such misstatements, the plaintiffs would have divested themselves of
any securities they had purchased in the Funds.

175. By virtue of the foregoing, Citco NV violated § 10(b) of the
Securities Exchange Act of 1934 and Rule 10b-5 promulgated thereunder in that it,
directly or indirectly, by use of the means or instrumentalities of interstate commerce
and/or the mails, or of a facility of a national securities exchange, knowingly or
recklessly employed devices, schemes, and artifices to defraud, made untrue

statements of material facts or omitted to state facts that they were under a duty to

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speak, and engaged in acts of fraud and deceit upon the plaintiffs, all in connection with
the purchase or sale of a security.

176. Each of the plaintiffs has been damaged by Citco NV’s wrongful
conduct in that such wrongful conduct caused each of them to purchase and hold
shares in the Funds at inflated values and/or to retain those shares until such time as
the Funds were unable to honor redemption requests, causing each plaintiff to lose a
substantial portion of its investment in the Funds.

177. By reason of the foregoing, the plaintiffs are entitled to judgment
against Citco NV awarding the plaintiffs compensatory damages in an amount to be
determined at the trial of this action, together with interest at the statutory rate.

EIGHTH CLAIM FOR RELIEF

(Against The Citco Group for
Violations of Securities Exchange Act § 20(a))

178. Plaintiffs repeat and reailege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

179. This claim is brought on behalf of those investors who purchased
all or part of their shares in the Funds after March 2000.

180. As alleged more fully above, Citco NV’s conduct violated Section
10(b) of the Securities Exchange Act of 1934 (15 U.S.C. § 78j(b)) and Rule 10b-5
promulgated thereunder.

181. At all relevant times, The Citco Group had the power, both direct
and indirect, to control Citco NV, which was a division of The Citco Group, did in fact
exercise such control and was therefore controlling a person within the meaning of

Section 20(a) of the Securities Exchange Act of 1934 (15 U.S.C. § 78(t)).

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182. Each of the plaintiffs has been damaged by the wrongful conduct of
The Citco Group through its control of Citco NV, in that the wrongful conduct caused
each of the plaintiffs to purchase shares in the Funds at inflated values and to remain
invested in the Funds.

183. By reason of the foregoing, the plaintiffs are entitled to a judgment
against The Citco Group awarding the plaintiffs compensatory damages in an amount to
be determined at the trial of this action, together with interest at the statutory rate.

NINTH CLAIM FOR RELIEF
(Against Citco NV for Common Law Fraud)

184. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

185. As set forth more fully above, Citco NV knowingly and/or recklessly
made numerous false and misleading statements of material fact and omitted to state
material facts regarding the management, performance and value of the Funds to
plaintiffs.

186. Citco NV repeatedly disseminated fraudulent and grossly inflated
NAV statements to the Funds’ investors. Citco NV also disseminated numerous
newsletters and performance reports generated by Lauer and audit reports of PWC NA
that contained material misrepresentations about the Funds’ performance. Citco NV
also misrepresented that it would follow the policies and procedures that it had in place
to ensure the accurate calculation of the Funds’ NAVs.

187. Citco NV knew, or was reckless in not knowing, that its conduct

constituted a fraud on the plaintiffs and would result in, and did in fact result in, the

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purchase of Fund shares by the plaintiffs at inflated prices and/or the retention of such
shares, all resulting in the subsequent loss of a substantial portion of plaintiffs’
investments.

188. Citco NV made the material misrepresentations, and omitted to
disclose the material facts, herein alleged with the intention of inducing the plaintiffs to
purchase and retain securities in reliance thereon.

189. Plaintiffs reasonably and justifiably relied on Citco NV’s
misrepresentations and omissions in deciding to purchase and/or retain shares in the
Funds.

190. Each of the plaintiffs has been damaged by Citco NV’s wrongful
conduct in that such wrongful conduct caused each of them to purchase and/or hold
shares in the Funds at inflated values and to retain those shares until such time as the
Funds were unable to honor redemption requests, causing each plaintiff to lose a
substantial portion of its investment.

191. The fraudulent conduct of Citco NV, as outlined above, was done
purposefully, maliciously, recklessly and without regard for the rights and interests of the
plaintiffs.

192. By reason of the foregoing, the plaintiffs are entitled to a judgment
against Citco NV, awarding the plaintiffs compensatory and punitive damages in an
amount to be determined at the trial of this action, together with interest at the statutory
rate.

TENTH CLAIM FOR RELIEF

(Against Citco NV and IFS for Breach of Fiduciary Duty)

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193. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

194. Citco NV and IFS, as administrators of the Funds, owed the highest
obligations and fiduciary duties to the plaintiffs, who are shareholders of the Funds.
These defendants were duty bound to act in a responsible and lawful manner, in utmost
good faith, and in accordance with the representations on which the plaintiffs relied in
entrusting their monies to these defendants, so as not to cause injury to the plaintiffs.

195. These defendants each owed directly to each of the plaintiffs, as
shareholders of the Funds, the duty to exercise due care and diligence in the
management and administration of the Funds, in the use and preservation of the
plaintiffs’ property and assets and in ensuring the accuracy of information transmitted to
investors concerning the holdings and valuation of the Funds’ assets. These
defendants also each owed directly to the plaintiffs the duties of full and candid
disclosure of all material facts relevant to the Funds and duties to deal fairly and
honestly with the plaintiffs. These defendants were obligated to ensure that Lauer and
Lancer Management did not engage in any fraudulent, unsafe or unsound valuation
practices.

196. In engaging in the conduct alleged herein, including, but not limited
to, falsely reporting prices and results of the plaintiffs’ investments, and by failing to
report that Lauer was fraudulently overstating the value of the Funds’ portfolios and
otherwise disregarding the representations made in the PPMs, these defendants

repeatedly breached their fiduciary and related obligations to the plaintiffs.

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197. Each of the plaintiffs has been damaged by the wrongful conduct of
these defendants in that the plaintiffs were induced to purchase and/or hold shares in
the Funds at inflated values until such time as the Funds were unable to honor
redemption requests, causing each plaintiff to lose a substantial portion of its
investment.

198. The conduct of these defendants was purposeful and it departed in
the extreme from the norms expected of such persons. Citco NV and IFS cavalierly
disregarded their duties to, and the interests of, the plaintiffs. By reason of the
foregoing, the plaintiffs are entitled to a judgment against these defendants, jointly and
severally, awarding them compensatory and punitive damages in an amount to be
determined at the trial of this action, together with interest at the statutory rate.

ELEVENTH CLAIM FOR RELIEF
(Against Citco NV for Aiding and Abetting Common Law Fraud)

199. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

200. Defendant Citco NV played a significant and vital role in the
fraudulent scheme alleged herein, with knowledge or reckless disregard thereof.

201. Citco NV knew or should have known that investors would rely on
the NAV statements and newsletters that it was disseminating as a basis for investing in
and/or maintaining their investments in the Funds. Plaintiffs derived great comfort from
representations that Citco NV would independently calculate the Funds’ NAV.

202. Instead, Citco NV knowingly or recklessly failed in its role. Citco

NV knowingly and substantially aided and abetted the fraud committed by Lauer and the

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Director Defendants by using the NAV’s provided by Lauer without verifying that the
NAV’s were consistent with market value, failing to conduct any independent valuation
of the Funds’ portfolios, and disseminating monthly statements to plaintiffs that
contained false and overstated NAVs.

203. The conduct of Citco NV proximately caused significant damage to
the plaintiffs. The fraud could not have succeeded without the active and knowing
participation of Citco NV.

204. Each of the plaintiffs has been damaged by the wrongful conduct of
Citco NV in that the plaintiffs were induced to purchase and/or hold shares of the Funds
at inflated values, and to retain those shares until such time as the Funds were unable
to honor redemption requests, causing each plaintiff to lose a substantial portion of its
investment in the Funds.

205. Citco NV’s conduct was purposeful and malicious, or reckless, and
departed in the extreme from the norms expected of an administrator. Citco NV
cavalierly disregarded its duties to, and the interests of, the plaintiffs.

206. By reason of the foregoing, plaintiffs are entitled to a judgment
against Citco NV awarding the plaintiffs compensatory and punitive damages in an
amount to be determined at the trial of this action, together with interest at the statutory
rate.

TWELFTH CLAIM FOR RELIEF
(Against Citco NV for Aiding and Abetting Breach of Fiduciary Duty)
207. Plaintiffs repeat and reallege, as if set forth in full herein, the

allegations of all of the preceding paragraphs of this Complaint.

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208. Citco NV knew or recklessly disregarded the fact that Lauer and the
Director Defendants owed fiduciary and other obligations to the plaintiffs, and knew or
recklessly disregarded the fact that these defendants were breaching said obligations
by engaging in the conduct alleged herein.

209. With such knowledge, Citco NV knowingly participated, aided and
abetted, and otherwise conspired to bring about these defendants’ breaches of fiduciary
obligations by, inter alia, using the NAV’s provided to them by Lauer without verifying
that the NAV’s were consistent with market value, failing to conduct any independent
valuation or assessment of the Funds’ portfolios, and disseminating monthly statements
to plaintiffs that contained false and overstated NAVs.

210. Based on the information that it had, Citco NV knew or should have
known that these defendants were breaching their fiduciary duties to plaintiffs by
disseminating false and overstated NAVs to plaintiffs.

211. Each of the plaintiffs has been damaged by the wrongful conduct of
Citco NV in that the wrongful conduct caused each plaintiff to purchase and/or hold
shares in the Funds at inflated values until such time as the Funds were unable to honor
redemption requests, causing each plaintiff to lose a substantial portion of its
investment.

212. Citco NV’s wrongful conduct, as alleged herein, was done
purposefully, maliciously, recklessly, and without regard for the rights and interests of
the plaintiffs.

213. By reason of the foregoing, the plaintiffs are entitled to a judgment

against Citco NV awarding the plaintiffs compensatory and punitive damages in an

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amount to be determined at the trial of this action, together with interest at the statutory
rate.
THIRTEENTH CLAIM FOR RELIEF

(Against Citco NV for Negligence, Negligent
Misrepresentation and Professional Malpractice)

214. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

215. Citco NV had a duty to the plaintiffs to independently calculate and
verify the NAVs each month, to verify that the NAV’s used by Lauer reflected market
value and to send accurate NAV statements to plaintiffs.

216. Citco NV performed its duties negligently and/or grossly negligently,
and in reckless disregard of its duties, thereby enabling Lauer and the Director
Defendants to perpetrate and continue their fraudulent scheme. Citco NV failed to
independently value the NAVs of the Funds and to ensure the accuracy of the values
supplied by the Lauer. Instead, Citco NV used valuation information provided by Lauer,
including the B of A Position Reports, to calculate and send false NAV statements to
plaintiffs. Citco NV then disseminated this false and fraudulent information directly to
the plaintiffs.

217. Citco NV knew, or reasonably should have known, that the plaintiffs
would rely upon this information in purchasing their shares or, with respect to existing
investors, that those investors would rely upon this information in determining not to
redeem their shares and/or to purchase new and additional shares in the Funds.

218. Citco NV did not utilize the requisite skill and knowledge to perform

its duties as administrator, woefully failed to exercise ordinary and reasonable care in

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the application of its professional knowledge and skill, and woefully failed to use its best
professional judgment in the application of its knowledge and skill.

219. In the course of this conduct, Citco NV failed to inquire into many
crucial facts, which, in the exercise of ordinary care, they should not have ignored and
should have investigated. Citco NV demonstrated a complete disregard for the rights of
the plaintiffs, as well as for the security of their investments.

220. Plaintiffs were damaged by Citco NV’s negligence. Plaintiffs would
not have purchased and/or maintained their shares in the Funds had they known that
Citco NV had engaged in the negligent conduct alleged herein.

221. Each of the plaintiffs has been damaged by the wrongful conduct of
Citco NV in that the plaintiffs were induced to purchase and/or hold shares in the Funds
at inflated values until such time as the Funds were unable to honor redemption
requests, which caused each plaintiff to lose a substantial portion of its investment.

222. By reason of the foregoing, the plaintiffs are entitled to a judgment
against Citco NV awarding them compensatory damages in an amount to be
determined at the trial of this action, together with interest at the statutory rate.

FOURTEENTH CLAIM FOR RELIEF

(Against PWC NA for Violations of Section 10(b) of the
Securities Exchange Act of 1934 and Rule 10b-5 thereunder)

223. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.
224. This claim is brought on behalf of those plaintiffs who purchased all

or part of their shares in the Funds after March 2000.

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225. The audit reports that were issued by PWC NA to Plaintiffs were
materially false and misleading in that they falsely represented that the audits of the
Funds’ financial statements were conducted “in accordance with international standards
on auditing.” PWC NA’s representation and commitment was false and misleading in
that PWC NA did not conduct its audits of the Funds in the manner represented.
Moreover, it did not establish reasonable procedures to confirm the values presented in
the Funds financial statements as it claimed to have done.

226. The audit reports issued by PWC NA were also materially false and
misleading in that they falsely represented that the Funds’ financial statements
“{p]resented fairly, in all material respects the financial positions of [the Funds] ... in
conformity with international accounting standards.” In fact, as PWC NA knowingly or
recklessly disregarded, the Funds’ financial statements materially overstated the
financial position, performance and net assets of the Funds and had not been prepared
in accordance with international accounting standards.

227. PWC NA knew or recklessly disregarded the fact that its audit
reports would be a principal means by which investors would be induced to purchase
shares of the Funds, in that there was no other purportedly independently verified
information available to investors upon which they could rely to value the assets of the
Funds. PWC NA further knew that plaintiffs would rely on this false and misleading
information in making decisions on whether to purchase and retain shares in the Funds.

228. The plaintiffs relied upon these misstatements in making
investment and retention decisions with respect to the shares of the Funds. Plaintiffs

would not have purchased the securities of the Funds at the prices they did, or at all, if

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they had known that the statements made and/or caused to be made by PWC NA were
materially false and misleading and/or omitted to state material facts necessary in order
to make the statements accurate. Furthermore, had they known of such misstatements,
the plaintiffs would have divested themselves of any securities they had purchased in
the Funds.

229. By virtue of the foregoing, PWC NA violated § 10(b) of the
Securities Exchange Act of 1934 and Rule 10b-5 promulgated thereunder in that it,
directly or indirectly, by use of means and instrumentalities of interstate commerce
and/or the mails, engaged and participated in a continuous course of conduct whereby it
knowingly and/or recklessly made material misrepresentations and failed to correct
misrepresentations which were materially false and misleading in light of the
circumstances in which they were made, employed devices, schemes and artifices to
defraud, participated in fraudulent manipulation and engaged in acts and practices and
a course of business that operated as a fraud and deceit upon plaintiffs in connection
with their purchase of shares of the Fund.

230. Each of the plaintiffs has been damaged by PWC NA’s wrongful
conduct in that such wrongful conduct caused each of them to purchase and/or hold
shares in the Funds at inflated values and to retain those shares until such time as the
Funds were unable to honor redemption requests, causing each plaintiff to lose a
substantial portion of its investment in the Funds.

231. By reason of the foregoing, the plaintiffs are entitled to judgment
against PWC NA awarding the plaintiffs compensatory damages in an amount to be

determined at the trial of this action, together with interest at the statutory rate.

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FIFTEENTH CLAIM FOR RELIEF
(Against PWC NA for Common Law Fraud)

232. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

233. As set forth more fully above, PWC NA knowingly and/or recklessly
issued materially false and misleading audit reports, specifically addressing such audit
reports to the investors in the Funds, including plaintiffs.

234. PWC NA materially misrepresented to the plaintiffs that it had
conducted audits in accordance with international standards on auditing, and that it had
a reasonable basis for expressing its opinion that the Funds’ financial statements were
fairly presented in accordance with international accounting standards. Neither of these
statements was correct. In fact, PWC NA had not conducted any meaningful audit in
accordance with international standards on auditing, and PWC NA had no reasonable
basis upon which to express an opinion on the Funds’ financial statements.

235. Moreover, as detailed above, the audit reports issued by PWC NA
were materially false and misleading in that they falsely represented that the Funds’
financial statements “presented fairly, in all material respects, the financial positions” of
the Funds. In fact, as PWC NA knowingly or recklessly failed to know, the Funds’
financial statements materially overstated the Funds’ NAV.

236. PWC NA knew that investors would rely upon the fact that it had
audited the Funds’ financial statements in deciding to invest in the Funds, and in
deciding not to redeem their shares. PWC NA’s audit opinions gave investors, including

plaintiffs, a false sense of security in the historical performance of the Funds and

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provided investors with assurance that the returns being reported by the Funds had
been independently verified by a “Big Four" accounting firm. PWC NA’s
misrepresentations in its audit opinions concerning the adequacy of its audits and the
basis for its opinions were material.

237. Plaintiffs relied on PWC NA’s misrepresentations in deciding to
purchase shares in the Funds, to increase their investments in the Funds and/or not to
redeem the shares they held. Given that there was no other purportedly independent
verification of the Funds’ financial information, PWC NA knew or recklessly disregarded
that the audit reports it issued would be a principal means by which investors would be
induced to purchase shares of the Funds, to increase their shares in the Funds and/or
to retain their existing shares. PWC NA was under an affirmative duty to obtain
competent evidentiary material verifying the assets held by the Funds, as well as the
true value of such assets, yet it failed to do so.

238. Each of the plaintiffs has been damaged by PWC NA’s wrongful
conduct in that such wrongful conduct caused each of them to purchase and/or hold
shares in the Funds at inflated values and to retain those shares until such time as the
Funds were unable to honor redemption requests, causing each plaintiff to lose a
substantial portion of its investment.

239. The fraudulent conduct of PWC NA, as outlined above, was done
purposefully, maliciously, recklessly and without regard for the rights and interests of the
plaintiffs.

240. By reason of the foregoing, the plaintiffs are entitled to a judgment

against PWC NA, awarding the plaintiffs compensatory and punitive damages in an

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amount to be determined at the trial of this action, together with interest at the statutory
rate.
SIXTEENTH CLAIM FOR RELIEF

(Against PWC NA for Aiding and Abetting Common Law Fraud)

241. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

242. Defendant PWC NA played a significant and vital role in the
fraudulent scheme alleged herein, with knowledge or reckless disregard thereof.

243. PWC NA knowingly and substantially aided and abetted the fraud
committed by Lauer and the Director Defendants by providing the Funds with clean
audit opinions purportedly performed in accordance with the acceptable international
accounting procedures.

244. Plaintiffs derived great comfort from PWC NA’s participation in the
business of the Funds, particularly PWC NA’s consistently clean audit opinions.

245. PWC NA knowingly or recklessly failed in its role as auditor of the
Funds. PWC NA knew or should have known that the Funds’ NAV that it was “auditing”
was grossly over-inflated.

246. The conduct of PWC NA proximately caused significant damage to
the plaintiffs. The fraud could not have succeeded without the active and knowing
participation of PWC NA.

247. Each of the plaintiffs has been damaged by the wrongful conduct of
PWC NA in that the plaintiffs were induced to purchase and/or hold shares of the Funds

at inflated values, and to retain those shares until such time as the Funds were unable

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to honor redemption requests, causing each plaintiff to lose a substantial portion of its
investment in the Funds.

248. PWC NA’s conduct was purposeful and malicious, or reckless, and
departed in the extreme from the norms expected of an auditor. PWC NA cavalierly
disregarded its duties to, and the interests of, the plaintiffs.

249. By reason of the foregoing, plaintiffs are entitled to a judgment
against PWC NA awarding the plaintiffs compensatory and punitive damages in an
amount to be determined at the trial of this action, together with interest at the statutory
rate.

SEVENTEENTH CLAIM FOR RELIEF

(Against PWC NA for Aiding and Abetting Breach of Fiduciary Duty)

250. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

251. PWC NA knew or recklessly disregarded the fact that Lauer and the
Director Defendants all owed fiduciary and other obligations to the plaintiffs, and knew
or recklessly disregarded the fact that these Defendants were breaching said
obligations by engaging in the conduct alleged herein.

252. With such knowledge, PWC NA knowingly participated, aided and
abetted, and otherwise conspired to bring about Lauer and the Director Defendants’
breaches of fiduciary obligations by, inter alia, issuing “clean” audit opinions in 2000 and
2001.

253. Each of the plaintiffs has been damaged by the wrongful conduct of
PWC. NA in that the wrongful conduct caused each plaintiff to purchase and/or hold

shares in the Funds at inflated values until such time as the Funds were unable to honor

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redemption requests, causing each plaintiff to lose a substantial portion of its
investment.

254. PWC NA’s wrongful conduct, as alleged herein, was done
purposefully, maliciously, recklessly, and without regard for the rights and interests of
the plaintiffs.

255. By reason of the foregoing, the plaintiffs are entitled to a judgment
against PWC NA awarding the plaintiffs compensatory and punitive damages in an
amount to be determined at the trial of this action, together with interest at the statutory
rate.

EIGHTEENTH CLAIM FOR RELIEF

(Against PWC NA for Negligence, Negligent
Misrepresentation and Professional Malpractice)

256. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

257. PWC NA had a duty to the plaintiffs to independently audit the
books and records of the Funds. The audits prepared by PWC NA were specifically
addressed and distributed to the investors in the Funds.

258. PWC NA performed its duties negligently and/or grossly
negligently, thereby enabling Lauer and the Director Defendants to perpetrate and
continue their fraudulent scheme. PWC NA failed to properly audit the financial records
of the Funds and to ensure the accuracy of the NAV values supplied by Lauer.

259. PWC NA knew, or reasonably should have known, that the plaintiffs

would rely upon its audits in purchasing their shares or, with respect to existing

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plaintiffs, that those plaintiffs would rely upon this information in determining not to
redeem their shares and to purchase new and additional shares in the Funds.

260. PWC NA did not utilize the requisite skill and knowledge to perform
its duties as auditor, woefully failed to exercise ordinary and reasonable care in the
application of its professional knowledge and skill, and woefully failed to use its best
professional judgment in the application of its knowledge and skill.

261. In the course of this conduct, PWC NA failed to inquire into many
crucial facts, which, in the exercise of ordinary care, they should not have ignored and
should have investigated. PWC NA demonstrated a complete disregard for the rights of
the plaintiffs, as well as for the security of their investments.

262. PWC NA failed to perform duties with the due and professional care
required of an experienced auditor of hedge funds such as Lancer Offshore and
OmniFund.

263. Plaintiffs were damaged by PWC NA’s negligence. Plaintiffs would
not have purchased or maintained their shares in the Funds had they known that PWC
NA had engaged in the negligent conduct alleged herein.

264. Each of the plaintiffs has been damaged by the wrongful conduct of
PWC NA in that the plaintiffs were induced to purchase and/or hold shares in the Funds
at inflated values until such time as the Funds were unable to honor redemption
requests, which caused each plaintiff to lose a substantial portion of its investment.

265. By reason of the foregoing, the plaintiffs are entitled to a judgment
against PWC NA awarding them compensatory damages in an amount to be

determined at the trial of this action, together with interest at the statutory rate.

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NINETEENTH CLAIM FOR RELIEF

(Against B of A for Aiding and Abetting Common Law Fraud)

266. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

267. Defendant B of A played a significant and vital role in the fraudulent
scheme alleged herein, with knowledge or reckless disregard thereof.

268. B of A knowingly and substantially aided and abetted the fraud
committed by Lauer and the Director Defendants by allowing Lauer to create false
position reports from B of A’s computer system which were then given to PWC NA and
Citco NV by Lauer as part of the preparation of fraudulent audit reports and monthly
NAV statements. Upon information and belief, B of A knew that Lauer was generating
these BofA Position Reports and providing them to the auditor, administrator and
certain investors.

269. The conduct of B of A proximately caused significant damage to the
plaintiffs. The fraud could not have succeeded without the active and knowing
participation of B of A.

270. Each of the plaintiffs has been damaged by the wrongful conduct of
B of A in that the plaintiffs were induced to purchase and/or hold shares of the Funds at
the inflated values set forth in the monthly NAV statements, audit reports and/or B of A
Position Reports, and to retain those shares until such time as the Funds were unable
to honor redemption requests, causing each plaintiff to lose a substantial portion of its

investment in the Funds.

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271. B of A’s conduct was purposeful and malicious, or reckless, and
departed in the extreme from the norms expected of a prime broker and custodian.
B of A cavalierly disregarded its duties to, and the interests of, the plaintiffs.

272. By reason of the foregoing, plaintiffs are entitled to a judgment
against B of A awarding the plaintiffs compensatory and punitive damages in an amount
to be determined at the trial of this action, together with interest at the statutory rate.

TWENTIETH CLAIM FOR RELIEF

(Against B of A for Aiding and Abetting Breach of Fiduciary Duty)

273. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

274. B of A knew or recklessly disregarded the fact that Lauer and the
Director Defendants owed fiduciary and other obligations to the plaintiffs, and recklessly
disregarded the fact that Lauer and the Director Defendants were breaching said
obligations by engaging in the conduct alleged herein.

275. With such knowledge, B of A knowingly participated, aided and
abetted, and otherwise conspired to bring about Lauer and the Director Defendants’
breaches of fiduciary obligations by, inter alia, allowing Lauer to create and forward to
the auditor and administrator false position reports from B of A’s computer system which
were then used by PWC NA and Citco NV to prepare fraudulent audit reports and
monthly NAV statements. These B of A Position Reports were also provided, at times,
to certain investors who relied upon such reports in making investment and retention
decisions. Upon information and belief, B of A knew that Lauer was generating these
B of A Position Reports and providing them to the auditor, administrator and/or certain

investors.

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276. The conduct of B of A proximately caused significant damage to the
plaintiffs. The breaches of fiduciary duty could not have occurred undetected without
the active and knowing participation of B of A.

277. Each of the plaintiffs has been damaged by the wrongful conduct of
B of A in that the wrongful conduct caused each plaintiff to purchase and/or hold shares
in the Funds at inflated values set forth in the monthly NAV statements and audit reports
until such time as the Funds were unable to honor redemption requests, causing each
plaintiff to lose a substantial portion of its investment.

278. B of A’s wrongful conduct, as alleged herein, was done
purposefully, maliciously, recklessly, and without regard for the rights and interests of
the plaintiffs.

279. By reason of the foregoing, the plaintiffs are entitled to a judgment
against B of A awarding the plaintiffs compensatory and punitive damages in an amount
to be determined at the trial of this action, together with interest at the statutory rate.

TWENTY-FIRST CLAIM FOR RELIEF

(Against IFS for Negligence and Professional Malpractice)

280. Plaintiffs repeat and reallege, as if set forth in full herein, the
allegations of all of the preceding paragraphs of this Complaint.

281. IFS had a duty to the plaintiffs to independently calculate and verify
the NAVs each month, to verify that the NAVs used by Lauer reflected market value and
to send accurate NAV statements to plaintiffs. IFS sent fraudulent NAV statements

directly to the plaintiffs.

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282. IFS performed its duties negligently, thereby enabling Lauer to
perpetrate and continue his fraudulent scheme. IFS failed to independently confirm or
assess the NAVs of the Funds and to ensure the accuracy of the values supplied by
Lauer. IFS simply used Lauer’s valuations to calculate and send false NAV statements
to plaintiffs.

283. IFS did not utilize the requisite skill and knowledge to perform its
duties as administrator, woefully failed to exercise ordinary and reasonable care in the
application of its professional knowledge and skill, and woefully failed to use its best
professional judgment in the application of its knowledge and skill.

284. In the course of this conduct, IFS failed to inquire into many crucial
facts, which, in the exercise of ordinary care, it should not have ignored and should
have investigated. IFS demonstrated a complete disregard for the rights of the
plaintiffs, as well as for the security of their investments.

285. Plaintiffs were damaged by IFS’ negligence. Plaintiffs would not
have maintained their shares in the Funds had they known that IFS had engaged in the
negligent conduct alleged herein.

286. Each of the plaintiffs has been damaged by the wrongful conduct of
IFS in that the plaintiffs were induced to hold shares in the Funds at inflated values until
such time as the Funds were unable to honor redemption requests, which caused each
plaintiff to lose a substantial portion of its investment.

287. By reason of the foregoing, the plaintiffs are entitled to a judgment
against IFS awarding them compensatory damages in an amount to be determined at

the trial of this action, together with interest at the statutory rate.

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CONCLUSION

WHEREFORE, plaintiffs demand judgment from this Court awarding:

(1) | Compensatory damages to ail plaintiffs against the defendants, jointly and
severally, in an amount to be determined at the trial of this action, but no less than the
entire consideration paid by these plaintiffs for their interests in Lancer Offshore and
OmniFund;

(2) On Counts 2, 3, 9, 10, 11, 12, 15, 16, 17, 19 and 20, punitive damages in
an amount to be determined at the trial of this action.

(3) Interest on any award at the appropriate statutory or other rate; and.

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(4) | Such other and further relief as this Court deems just and proper to

adequately compensate plaintiffs.

Plaintiffs further demand a trial by jury of all claims set forth in this Complaint.

Dated: Miami, Florida
February 12, 2004

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Attorneys for the Plaintiffs

*Not admitted to practice in Florida
: Rev GegSe 0:04-cv-60196-KAM Poca: COVER SHEET 02/13/2004 Page 80 of 113

The !844 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local rules of
court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE

INSTRUCTIONS ON THE REVERSE OF THE FORM.)

1 (a) PLAINTIFFS

The Pension Committee of the University of
Montreal Pension Plan; The Altar Fund; Aberdeen
Investments, Ltd.; Aries Trading Ltd.; The
Arrowsmith Fund, Ltd.; AXA Alternative Advisors,
Inc.; Bank of Bermuda (Luxembourg) S.A.; Banque
Privee Edmond de Rothschild Europe; et al.

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(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
Montreal, Quebec, Canada

(EXCEPT IN U.S. PLAINTIFF CASES)
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Yn ACL pn arose. Bau
(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
DAVID C. CIMO, ESQ.

Genovese Joblove & Battista, P.A.

100 S.E. Second Street, Miami, Florida 33131
Tel: 305-349-2300

 

DEFENDANTS
Banc of America Securities, LLC ; Citco Fund
Services (Curacao) N.V.; The Citco Group Limited;
International Fund Services (Ireland) Limited;
PricewaterhouseCoopers (Netherlands Antilles );
John W. Bendall, Jr.; Richard Geist; Anthony
Stocks; Kieran Conroy; and Declan Quilligan

 

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

New York, New York, USA
(IN U.S, PLAINTIFF CASES ONLY) NOTE: IN LAND CONDEMNATION
CASES, USE THE LOCATION OF THE TRACT OF LAND

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INVOLVED

ATTORNEYS (IF KNOWN)

 

 

 

 

 

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(For Diversity Cases Only)

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Act

 

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V. ORIGIN (PLACE AN x IN ONE BOX ONLY) Appeal to District
Transferred from 07 Judge from
& 1 Original (1) 2 Removed from [0] 3Remanded from [4 Reinstated or D5 another district 0 6 Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (Specify) Litigation Judgment

 

Vi. CAUSE OF ACTION crete us. civic STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE. DO NOT CITE JURISDICTIONAL STATUTES UNLESS

DIVERSITY.) 15 U.S.C. § 78aa; 28 U.S.C. §§ 754, 1331, 1367, 1391; Securities Exchange Act of 1934 and Rule 10(b)-5; Breach of Fiduciary Duty; Negligence; Negligent
Misrepresentation, Common Law Fraud

 

 

 

Vi. REQUESTED IN check iF THIS ISA CLASS ACTION DEMAND $ Check YES only if demanded in complaint:
COMPLAINT: — [_] unoerrrce.23 JURY DEMAND: XJYES[_] NO
Vill. RELATED CASE(S) (See Instructions) nes and Ech 2 Commission v, mi ael| Lauer el
IF ANY See attached Jan, 2 dod4 Order, page 23, Section te, Sop ses rnd:
JUDGE William J. Zlock DOCKET NUMBER ___03-80612-CIV-ZLOCK ‘
DATE SIGNATURE OF ATTORNEY OF RECORD 7X a fr 2 Lo " ¥
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IN THE ONITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 03-80612 CIV-ZLOCH

SECURITIES AND EXCHANGE
COMMISSION

PlaintifE,

Vv. CASE EMENT ORDER

MICHAEL LAUER, LANCER
MANAGEMENT GROUP, LLC, and
LANCRR MANAGEMENT GROUP II,

LLC,
[FILED by —BT:
Defendants,
and
FAN BBA
LANCER OFFSHORE, INC., LANCER ccee cannes
PARTNERS, LP, OMNIFUND, LTD., Fo dieia "8. oist. er,
LSPV, INC., and LSPV, LIC, ane 8tDe OF FLAS FT: CAUDSt

Relief Defendants.
/

 

THIS MATTER is before the Court upon the Receiver’s Motion for
Entry of Case Management Order (DE 42) Eiled by Marty Steinberg,
Esq., court-appointed receiver (hereinafter the “Receiver”) of
Lancer Management Group, LLC, Lancer Managament Group II, LLC,
Lancer Offshore, Inc., Omnifund, Ltd., LSPV, Ine., and LSPV, LLC
(hereinafter collectively, the “Receivership Entities”) in the
above-styled cause. The Court has carefully reviewed said Motion,
the entire court file and is otherwise fully advised in the
premises. Additionally, a hearing regarding the instant Mntion was
held before the Court on October 28, 2003.

By prior Orders (DE Nos. 18 and 40) the Court appointed the

Recelver to take control and possession the Receivership Entities,

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to investigate the affairs of the Receivership Entities and to
pursue actions and legal proceedings on behalf of the Receivership
Fntities and on behalf of the investors and creditors of the
Receivership Entities. The Receiver was given broad aulhority to
hire professionals and take actions which the Receiver deems
reasonable or necessary to Carrying out his appointment. This
Order provides additional structure to the Receivership and powers
to Lhe Receiver as are necessary to protect and administrate the
Receivership Entities. This Order shall in no way limit the rights
of the Receiver previously conferred by the Orders Appointing
Receiver (DE Nos. 18 and 40) or applicable law. Tu Lhe extent this
Order conflicts with those prior Orders, the prior Orders shall
control,

Yhe Court notes that in his proposed Order the Receiver seeks
the injunction of all proceedings, suits or actions which may
“involve, diminish, ox usurp property of the Receiver or the
Receivership Entities’ estates.” Pursuant to the All Writs Act, 28
U.S.C. § 1651 (1994), the Court may issue all writs “necessary to
the preservation or exercise of its subject matter jurisdiction.”
ITT Community Dev, Corp. v. Barton, 569 F.2d 1351, 1359-60 (Sth
Circ. 1976); see also Rosen v. Cascade JInt’l, In¢c,, 21 F.3d 1520,
1527 n.13 (llth Cir. 1994). Thus where, as in the above-styled
cause, a receiver has been appointed the Court may enjoin competing

actions to prevent interference wilh the administration of the

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receivership. See SEC v. Credit Bancorp, Ltd., 93 F. Supp. 2d 475,
477 (S.O0.N.Y. 2000) (citations omitted). Nevertheless, “[c]londuct
not shown to be detrimental to the court’s jurisdiction or exercise

f

thereof cannot be enjoined under the Act.” Mi

Cardinal Textile Sales, 14 F.3d 1507, 1518 n.17 (llth Cir. 1994).

In Section IX.A of this Order, therefore, all proceedinys, avutivus
and suits which may “diminish or usurp” the assets of the
receivership are enjoined, but those which merely “involve” or have
a relation to those assets are not.

Accordingly, after due consideration, it is

ORDERED AND ADJUDGED as follows:

I. STANDING OF RECEIVER

The Receiver shall have the same standing ta bring ancillary
suils and actions including, without limitation, suits and aclions
by, on behalf of, or against any or all of the Receivership
Entities or Defendant, Michael Lauer (hereinafter “Lauer”), as a
common law receiver and as a bankruptcy trustee under Title 11 of
the United States Code (the “Bankruptcy Code”). The conferral upon
or assertion of such standing by the Receiver shall not divest any
other partics in interest of standing under Section 1109 of the
Bankruptcy Code in the Connecticut Bankruptcy (as detined below).

II. THE SEC’S ENFORCEMENT PROCEEDING
The United States Securities and Exchange Commission’s

(hereafter the “SEC”) enforcement praceeding shall not be

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consolidated or coordinated with any suits or actions including,
without limitation, suits and actions brought by the Receiver,
investors or creditors. Specifically, with the exception of the
Receiver, no other ancillary party, including, without limitation,
investors and creditors, may participate in discovery, the
adjudication of issues and/or trial on the merits in the SEC’s
enforcement proceeding. The SEC’s enforcement proceeding shall be
governed by an independent scheduling order.
ITT. CONNECTICUT BANKRUPTCY CASE

The bankruptcy of In re Lancer Partners, Limited Partnership
is currently pending in the United States Bankruptcy Court,
District of Connecticut, Case No. 03-50492 (the “Connecticut
Bankruptcy”). Two Official Committees have been appointed in the
Connecticut Bankruptcy: Committee af Unsecured Creditors
(hereinafter the “Creditors’ Committee”) and Committee of Fquity
Investors (hereinafter the “Equity Committee” and together with the
Creditors’ Committee, the “Committees”). This Order is not
intended to interfere with the Connecticut Bankruptcy or otherwise
usurp the authority of the court in the Connecticut Rankruptcy or
the rights of the Committees in that case; provided however that
this Order shall not restrict or otherwise limit the Keceiver’s

rights to move the Bankruptcy Court to dismiss or transfer venue of

the Connecticut Bankruptcy. This Order establishes procedures for

this Proceeding and not the Connecticut Bankruptcy.

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IV. STEERING COMMITTEE
A. Formation and Purpose Of Steering Committee

The Receiver is authorized to establish a steering committee
(the “Steering Committee”) of attorneys to provide input from the
investors and creditors to the Receiver in connection with the
Proceeding and the administration of the Receivership estate. The
Sleering Committee shall not be a voting committee. The Receiver
shall act as the Chairman of the Steering Committee and shall
oversce its activities. All Steering Committee memhers shall be
selected by the Receiver at his sole discretion. The Court may,
however, reduce, increase or change the membership of the Steering
Committee. Each Steering Committee member shall file with the
Court an affidavit indicating that such member has no interest
(outside the Proceeding) adverse ta the Receiver or the
receivership eslate, similar to that required by the Bankruptcy
Code. The Steering Committee members’ participation in the
Connecticut Bankruptcy or the proceeding brought by the BVI
Financial Services Commission (hereinafter “FSC”) in the British
Virgin Islands (hereinafler “BVI”) shall not be automalically
deemed an adverse interest for the purposes of selection of or
participation as a member of the Steering Committee.

BR. Payment of Fees and Costs from Receivership Assets

It is the intent of this Court to compensate Steering

Committee members out of the Raceivership Estate only when their

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work has been specifically approved by the Receiver and the Court.
Except for good cause shown, and only upon order of the Court,
members of the Steering Committee shall be compensated for their
lteasonable attorneys’ or professional fees and costs from the
assets of the Receivership Entities only where such fees and/or
costs are approved by the Receiver or the Court prior to thei
commencement. Each of the Receivership Entities shall be jointly
and severally liable for all such approved fees and costs of the
Steering Committee members allowed in accordance with this Order.
C. Steering Committee Document Depository

The Receiver shall maintain, lor the benefit of the Steeriny
Committee and its members, a depository of all documents filed
and/or produced in this Procecding, and shall make such documents
available to the Steering Committee members and/or their counsel
upon request and upon reasonable notice and terms. The Receiver,
at his discretion, may make such documents available in electronic
form or through the Internet.

V. NOTICE OF PAPERS
A. Requests for Notice

To assure proper notice under all circumstances, including
expedited matters, a request for service of papers in tLhis
Proceeding (a “Request [or Notice”) may be served upon the Receiver
and, for evidentiary purposes, filed with the Court. A Request for

Notice shall include: (a) an address at which all documents filcd

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wilh the Court and served by all entities may be served by U.S.
Mail, hand delivery, overnight delivery, and facsimile; (b) the
telephone number of each entity requesting service; (c) an
electronic mail (e-mail) address for service by e-mail if the
entity consents to service by e-mail as set forth in SecLion V.B.
below; (d) the entity’s local counsel and the counscl, if any,
primarily responsible for matters before the Court hut not having
an office in the SouLhern District of Florida.
B. Service by Flectronic Mail

Because electronic mail service often provides the fastest and
most economical method of service, the Receiver requests that all
parties with regular access to electronic mail consent to service
by electronic mail. Any party that indicates its electronic mail
address in a Request for Notice shall be deemed to have consented
to service by electronic mail unless otherwise requested. Any
other party that wishes to consent to service by electronic mail at
any time may do so by sending a notice to the Receiver and the
Court consenting to service by electronic mail.

Cc. Master Service bist

All papers (other than: (i) those seeking ex parte relief in
accordance with applicable rules of procedure or order of Lhi»s
Court; and (ii) those solely relating to the SEC’s enforcement
proceeding) filed in this Proceeding shall be served on the

following parties (the “Master Service List”):

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1. Counsel for the Receiver;

2. All Members of the Steering Committee;

3. The Securities and Exchange Commission - Southeast

Regional Office (Attn: Kerry A. Zinn, Esq.);

4. Counsel for the BVI Financial Services Commission in

the British Virgin Islands;

5. The United States Trustee responsible for any Title

11 bankruptcy cases ancillary to this Proceeding;

A. Counsel for the Committees and othec counsel for any

official, statutory creditors’ committees appointed in

any Title 11 bankruptcy cases ancillary to this

Proceeding;

7. Any truslee appoinled in any Title 11 bankruptcy case

ancillary to this Proceeding;

8. Any parties and entities (including local government

units) previously known by the party serving the paper to

be served to have a particularcized interest in the

subject of such paper; and

9. Any real parties in interest that file a Request for

Notice and serve the same upon the Receiver prior to the

tiling of the paper to be served.

The Receiver shall be responsible for maintaining the Master
Service List, which shall be updated monthly. An updated Master

Service List shall be made available to any party in interest by

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request presented to counsel for the Receiver.
D. Method of Service of Requests for Relief and Other Papers
All entities seeking relief from this Court in this Proceeding
are authorized to serve such requests tor relief and other papers
by U.S. Mail, hand delivery, overnight delivery, facsimile or, if
a party to be served has so consented or deemed to have consented,
by electronic mail. Service on the Receiver shall be by electronic
mail and one of the following: U.S. Mail, hand delivery, overnight
delivery, or facsimile. Any party that cannot serve a paper by
electronic mail must serve the paper on the Receiver by hand
delivery, overnight delivery, or facsimile.

Ll. Service of Responses to Requests for Relief Served Via
Fac Hand Deliver Or Cc j

Unless otherwise ordered by the Court, if any entity files any
request. for relief and serves the same by facsimile, hand delivery,
or electronic mail, then all parties shall have ten (10) business
days from the date of service of such request for relief to file
with the Court and serve upon the Recciver, the Master Sarvice List
and the party seeking relief an objection or opposition to such
motion, application, nolice, or other paper.

2. Service of Responses to Requests for Relief Served Via U.S.
Mail
Unless otherwise ordered by the Court, if any entity files any

request for relief and serves the same by U.S. Mail, then all

Parties shall have twelve (12) business days from the date of

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service ot such request. for relief to file and serve upon the
Receiver, the Master Service List, and the party seeking relief an
objection or opposition to such motion, application, notice, of
other paper.
3. Service of Response to Request for Relief Set for Nearing

Unless otherwise ordered by the Court, if a request for relief
has been set for hearing, the Court shall not consider any response
or objection to such request for relief or any reply to such
response or objection filed ‘tess than three (3) business days
before the date of such hearing.
4. Failure to Timely Object

If no party timely objects to a motion, application, notice,
or other paper tiled, then any and all relief requested therein may
be granted by the Court without the necessity for any hearing or
further consideration. Nothing in this Order, however, shall bar
any party from requesting a hearing despite the absence of a
response or objection.

e Replies

Unless otherwise ordered by the Court, alli replies to
objections or responses to requests for relief shall be filed
witnin five (5) business aqays from Lhe filing date of auch
objection or response.
6. ervice Or

All parties submitting orders for entry by the Court shall

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serve a conformed copy of any entered order on the Receiver and the
SEC within two business days of entry and shall serve such entered
order on the Master Service List and any other interested parties
within five business days after entry.
7. tificates of Service

All parties shall include in any papers filed with the Court
a Certificate of Service identifying all parties served and the
manner of service,
8. Nolice of Objection Procedures

All filings seeking relief shall include a statement of the
applicable deadline for filing and serving objections as provided
in this Order as follows:

If no party files and serves an objection to the relief

requested herein on or before [DATE OF OBJECTION

DEADLINE], the relief shall automatically be deemed

granted without further order of this Court.
3. Special Notice Procedures

Nothing herein shall prejudice the right of any entity to move
the Court to further limit or expand notice of requests for relief
and/or other contested matters upon a showing of good cause,
including, without limitation, the right to file a motion seeking
emergency or ex parte relief.

Q. Negative ti Procedur

Unless otherwise ordered by the Court, the Recciver may

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precure authority to do the following via ten (10) days negative
notice:
1. Abandon property of the Receivership Entities that is
burdensome or of inconsequential value;
2. Settle, compromise, or dismiss contested matters,
adversary proceedings, or any other ancillary litigation;
3. Retain professionals, subject to the conditions set
forth herein; and
4. Compensate professionals from assets of the

Receivership Estate, subject to the conditions set forth

herein.
To procure such relief via negative notice, the Receiver shall
serve on all parties on the Master Service List a notice indicating
the Receiver’s intent (a “Notice of Intention”) and briefly

describe the grounds therefor. The Notice of Intention shall state

the following:
If no party files and serves an objection to this
Notice on or before [DATE OF OBJECTION DEADLINE] the
Receiver shall be automatically empowered to perform

the intended action without further order from this

Court.

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VI. OMNIBUS HEARINGS
A. All Matters to be Heard

The following contested matters will be considered and/or
heard only at periodic omnibus hearings scheduled in advance by the
Court (the “Omnibus Hearings”), unless the Court orders otherwise:
all motions, pleadings, applications, and other requests for
relief, all objections and responses, and replies thereto, and all
other matters.

B. Sctting Hearings

lL. Ordinary Scheduling Procedures

Motions shall be set on the next Omnibus Hearing date that is
at least ten (10) days after the filing of the request for relief
but at least seven (7) days prior to the Omnibus Hearing. Each
molion or requcset for relief shall be accompanied by a form “Notice
of Hearing”.

n ings

Notwithstanding any procedure established herein, this Order
shall not restrict any inlerested parly from requesting an
emergency hearing pursuant to the Local Rules of this Court.

i . H .
To the extent necessary, the Court has set aside the following

dates and times for Lhe firsl three Omnibus Hearings:

1. 11:30 am on the 20th day of February, 2004.
2. 10 am on the 23rd day of April, 2004.
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3. 10 am on the 18th day of June, 2004.
F .

At or before the last Omnibus Hearing scheduled above, the
Receiver or other party in interest may request scheduling of
additional Omnibus Hearings. Entities may contact Craig V. Rasile,
Hunton & Williams LLP, 1111 Brickell Avenue, Suite 2500, Miami, FL
33131, Phone (305) 810-2500, Fax (305) 810-2460, for information
concerning Future Omnibus Hearings scheduled by the Courct.

E. Agen £

No later than twenty-four (24) hours before each Omnibus
Nearing, the Receiver shall file with the Court a letter setting
forth each matter to be heard at such hearing and the proposed
order in which such matters will be heard (the “Agenda Letter”).
The Reeciver shall serve the Agenda Letter on the Master Service
List, on each entity affected by any item indicated in the Agenda
Letter and on each entity that has Filed and served papers with
this Court relevant to such hearing in accordance with the
procedures set forth hercin.

FE. The SEC’s Enforcement Proceeding

The SEC’s enforcement proceeding is not subject to Sections
VI. A through F of this Order. Any motions, pleadings,
applications or other requests for relief, objection, responses and
replies in the SEC’s enforcement proceeding may be considered

and/or heard at any time as determined by the Court.

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VII. RETENTION AND COMPENSATION OF PROFESSIONALS
A. Retention of professionals

1. Notice of Retention

The Receiver, or any attorney, accountant, consultant, agent
or other professional being engaged by the Receiver pursuant to the
provisions of the Receivership Order (a “Professional”) shall file
with the Court a notice indicating the Receiver’s intent to retain
a Professional (a “Notice of Intention to Retain Professional”).
The Notice of Intention to Retain Professional shall identify the
name of the professional firm, the individual(s) who will render
professional services, the scope and terms of the retention of such
Professional, the effective date of the retention, and the proposed
hourly rates to be charged by such Professional. Any material
additional engagement terms shall be disclosed or attached to the
Notice of Intention to Retain Professional along with an affidavit
of the Professional stating that the Professional does not hold or
represent any interest adverse to the Receivership Estate and is a
“disinterested” person.
2, Retention of Former Professionals

The Recciver may retain a Professional that has represented
the Receivership Entities prior to the Receiver’s appointment if
such Professional dves not represent or hold any interest adverse
to the Receiver or the Receivership Estate with respect to the

Matter on which such Professional is to bea employed.

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3. bjection o Retention

If no objection to a Notice of Intention lo Retain
Professional is timely filed in accordance with this Order, then
the engagement proposed in the Notice of Intention to Retain
Professional shall be deemed approved by the Court in all respects
without further order.

. , . i

1, Interim Applications for Compensation

Any Professional, any Steering Committee member (as provided
in Section IV.B. above) or the Receiver, on behaif of himself or
any Professional, may file a Request for Intcrim Compensation or a
Notice of Intention to Pay Interim Compensation (both a “Notice of
Compensation”) no less than every sixty (60) days. All Notices of
Compensation shall set forth the amount of fees and cosls
requested; a summary of prior Notices of Compensation reflecting
the amount of fees previously requested, awarded and paid; and a
brief summary of the services rendered during the relevant period.
All Notices of Compensation shall have attached as an exhibit a
schedule broken down into categories pre-determined by the Receiver
showing the amount of fees and costs requested in each category,
including a list of the billing persons, the hourly rates and
amount of time spent in each category. No compensaLlion will be

paid by the Receiver before thirty (30) days of service of a Notice

of Compensation to ensure that even if no party in interest objects

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within ten (10) days of service, the Court will have an additional
twenty (20) days to consider the Notice of Compensation and, if the
court deems necessary, schedule a hearing on the Notice of
Compensation.
2. Objections to Intcrim Compensation

All objections to a Notice of Compensation must be filed
within ten (10) days after service of the Notice of Compensation.
If an objection is timely filed, the Court shall set the matter for
hearing or entcr an order allowing in full, allowing in part or
disallowing the Notice ot Compensation as the Court deems
appropriate.
3. Court Consideration of Unopposed Notices

If no objection is filed within ten (10) days of service of a
Notice of Compensation, then the Court will take the Notice under
advisement in order to evaluate the reasonableness of the requested
compensation. Within twenty (20) days of the expiration of the
time to file an objection, the Court shall either: (i) issue an
order allowing in full, allowing in part, or disallowing the
requested compensation; or (ii) set the Notice of Compensation for
hearing at the next available omnibus hearing dale or such other
date the Court deems appropriate. If the Court does not enter an
order on an unopposed Notice of Compensation or set an unopposed
Notice for hearing, within the period prescribed herein then the

compensation requested in the unopposed Notice of Compensation

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shall be deemed allowed as requested, without further order of the

Court.

Resolution ef Objections and Amended Notices

If the applicant and an objecting party are able to resolve an

4.

objection to a Notice of Compensation to the satisfaction of the

Receiver, without judicial intervention, then the Receiver shall

file and serve a Notice of Intention to Pay Agreed Amended

Compensation setting forth the manner in which the objection was

resolved, which notice shail be executed by bath the applicant and

the objecting party. Such notice shall be served by the Receiver

upon all parties on the Master Service List and shall be subject to

approval and payment as if it were an original Notice of Intention

to Pay Interim Compensation.

Pa _ Fee Recei
The Receiver shall pay fees and expenses approved by the Court

to the extent the Receiver is in possession of sufficient funds in

the Receivership Estate at such time.

6. Final Applications for mpensation

the conclusion of this case or upon

Professional or any Steering Committee

AC the termination of
services by the Receiver,

member compensated pursuant to this Section, such entity shall file
a Final Application for Allowance of Compensation whicn shall not

be subject to automatic or negative notice allowance but shall be

considered by the Court notwithstanding the existence or absence of
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any timely objections. All interim fees and expenses paid are
gubject to disallowance and/or disgorgement until entry of the
Order Granting a Final Application for Compensation.
VIII. COMMUNICATIONS AND CONFIDENTIALITY
A. Maintenance of Confidentiality

The Receiver, the FSC and the Steering Committee share a
common interest in maximizing the recovery for the investors and
creditors of the Receivership Fntities. Accordingly,
communications amuny the Receiver, the FSC, the Steering Committee
and its members and their respective counsel (collectively the
“Confidential Parties”) which contain privileged communications,
work product information, common interest or joint defense
intormation, critical self-analysis information, and other
dpplicable privileges are hereby deemed confidential and shall he
protected from disclosure to any third party under such privileges.
1. : jdentj Materia

The Confidential Parties also conclude that, from time to
time, their mutual inleresls will be best served by sharing
privileged, work product, common interest or joint defense,
critical sclf-analysis or other similar materials, including, but
not limited to, documents, factual material, mental impressions,
memoranda, interview reports, notes, opinions, legal analysis and
advice and other matters, including the confidences of each other

(collectively the “Confidential Materials”). Confidential

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Materials, whether shared as herein contemplated or not, are and
would be privileged from disclosure to adverse or other parties as
a result of the attorney-client privilege, the attorney work-
product doctrine, common interest or joint defense doctrines, the
critical self-analysis doctrine and other applicable privileges.
2. Use of Confidential Materials

Any Confidential Materials exchanged between or among the
Confidential Parties, and the information contained therein, and
any other confidences exchanged between or amony counsel, shall be
used solely in connection with preparing for and prosecuting
matters in this Proceeding, the Connecticut Hankruptcy, and, where
appropriate, in proceedings ancillary to this Proceeding.
Furthermore, no information, communications or defense materials
exchanged among the Confidential Parties may be used in any
proceeding involving any Confidential Party that may be entitled to
claim any privilege with respect to such information,
communications or defense malerials without the express written
consent of such Confidential Party. If any Confidential Materials
arc to be used in deposition or other discovery proccdures, the
parties engaged in such discovery shall execute a4 separate
confidentiality agreement governing the use of such documents in
discovery.
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No Confidential Party shall disclose information,

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communications or defense materials received trom another
Confidential Party, or the contents thereof, to anyone except their
respeclive clients, attorneys within their firms, or theic
employees, agents or experts, without first obtaining the written
consent of any Confidential Party that may be entitled to claim any
privilege with respect Lo such materials, as well as Lhe written
consent of the Party’s counsel. Further, no information,
communications or defense materials exchanged under this agreement,
may he used in any proceeding involving any Party who may be
entitled to claim any privilege with respect to such information,
communications or defense materials without the express written
consent of such Party and such Party’s counsel.
4. No Obligation to Share Confidential or Other Materials

While it ais the intent that Confidential Materials be
exchanged between and among Confidential Parties, nothing in this
Order shall be construed as giving rise to any obligation on behalf
of any Contidential Party to share any information, communications
or Confidential Materials with any other Confidential Party.
5. Termination of Confidentiel Relationship

The Court may, upon request by a Confidential Party and after
notice and a nearing, terminate the confidential celationships
established herein with respect to any Confidential Party. The
effect of such terminalion shall be prospective only and will not

affect the Confidential Parties’ obligation to hold confidential

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all Confidential Materials, communications and information
exchanged prior to the entry of an order terminating a confidential
relationship established by this Order. Moreover, termination of
any of the confidential relationships established by this Order
shall not create any conflict of interest and shall not be used as
a basis to disqualify the counsel of any Confidential Party.
6, Withdrawal of Confidential Party

Each Confidential Party may withdraw or voluntarily terminate
prospectively by written notice to all Confidential Parties should
it be determined that it is no longer in its interest to continue
a joint defense. The effect of withdrawal shall be prospective
only and will not affect ‘the Confidential Parties’ mutual
obligation to hold confidential all defense materials,
communications and information exchanged prior to receipt of
written notice of withdrawal. Moreover, the Confidential Parties
agree that the act of withdrawal will not create any conflict of
interest and will not be used as a basis to disqualify the counsel
of the withdrawing Party from continuing to represent such Party.
To the extent that withdrawal might be considered to create a
conflict of interest, however, the Confidential Parties are deemed
Lo have waived any such conflict.

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The Court hereby finds that any violation of the

confidentiality provisions of this Order shall be the cause of

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irreparable harm to any Confidential Parties affected by ‘such
breach, and finds that monetary damages may not provide sufficient
relief for such a breach. In the event of a violation of Lhe
confidentiality provisions of this Order, the Court shall impose
any specific performance or injunctive relief necessary to prevent
the irreparable harm flowing from such breach, in addition to
monetary sanctions if appropriate.
C R . AppLi .

All cammunications involving Confidential Materials among the
Confidenlial Parties prior to the date of this Order are subject to
the confidentiality provisions of this Order.

IX. ANCILLARY PROCEEDINGS
A. Injunction

The Court hereby enjoins any party (excluding the Receiver,
the SFC, the National Association of Securities Dealers (the
“NASD”), and/or any other regulatory body or law enforcement agency
of the United States or its constituent states) with notice of this
Order from initiating, maintaining, or in any way prosecuting in
any other court any proceeding, suit, or action against any of the
above-named Defendants and/or Relief Defendants. Additionally, the
Court hereby enjoins any party (excluding the Receiver, the SEC,
the NASD, any other regulatory body or law enforcement agency of
the United States or its constituent states or any party with the

express written consent of the Receiver or this Court) with notice

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of this Order from initiating, maintaining, or in any way
prosecuting in any court any proceeding, suit or action that may
diminish or usurp property of the Receiver or the Reccivership
Entities’ estates, including, but not limited to, causes of action
that the Receiver may have standing to bring or that may belong to
the Receiver, any investors, any class or group of investors,
and/or any member of the Steering Committee against the
Receivership Entities’ former principals, professionals or other
third parties. Unless otherwise expressly authorized by the
Receiver or the Court, such proceedings, suits, and actions must be
brought in the form of a proceeding ancillary to this Procceding
pursuant. to this Order. The Receiver may provide effective notice
of the channeling injunction contained in this Order by publication
as provided for in the Federal Rules of Civil Procedure, or by
filing notice of this Order in any such proceedings, suits and

actions brought prior to the entry of this Order.

 

Any party may initiate a proceeding ancillary to this Case by:
(i) filing an ancillary complaint in this Court and serving such
complaint in compliance with the Federal Ruies of Civil Procedure;
(ii) obtaining a court order transferring the venue of any of the
Receivership Entities’ cases filed under any chapter of the
Bankruptcy Code in another district; or (iii) obtaining an order,

administrative decision, or other document to which comity attaches

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providing for the involvement of this Court and/or the Receiver in
any of the Receivership Entities’ foreign insolvency, bankruptcy,
administrative or liquidation proceedings.

i. Maintenance of Ancillary Proceeding Files and Transfer to

This Court

The Clerk of Court shall assiqn all ancillary proceedings
initiated by the Receiver or any other party pursuant to the
Receivership Order or Section TX.B. of this Order a separate case
number, and all such ancillary proceedings shall be transferred to
this Court and subject to this Order and subsequent pretrial
orders.

Cc. Other Rankruptcy Proceedings

The Receiver is hereby authorized to file cases under any
chapter of the Bankruptcy Code or file motions to transfer venue of
any pending or subsequently filed bankruptcy cases for any of the
Defendants or kKelief Defendants that the Receiver deems
appropriate. All such cases shall be filed in or transferred to
the Southern District of Florida and the telerencee shall be
withdrawn to this Court by separate Order.

X. REPORTING REQUIREMENTS

After the initial report required by the Receivership Order,
the Receiver shall file and serve the next four status reports with
the Court quarterly and will tile all other reports thereafter

semi-annually.

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XI. PRESERVATION OF DOCUMENTS
A. Retention Injunction

Each of the parties to this Proceeding, including the
Confidential Parties, each of the partics to any proceeding
ancillary to this Proceeding, and any person or entity with notice
of this Order that provided products or services to the
Receivership Enlities and/or received funds from the Receivership
Entities, and their respective officers, agents, servants,
employees, and attorneys, and all persons in active concert or
participation with them who receive any notice of this Order are
hereby restrained and enjoined from alLlering, interlining,
destroying, permitting the destruction of, or in any other fashion
changing any “document” in the actual or constructive care, custody
ear cantrnl af such person, wherever such document is physically
located (“Documents”). Such persons are also enjoined from
changing the location of any such Documents except to facilitate
compilation, review, or production to the Receiver. ‘he Receiver
may provide effective notice of the retention injunction contained
in this Order by service in accordance with this Order or

publication as provided for in the Federal Rules of Civil

 

Procedure.
B. Scope of Retention Injunction
1, Definition of “Document”

“Document” shall mean any writing, drawing, film, videotape,

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chart, photograph, phonograph record, tape record, mechanical or
electronic sound recording or transcript thereof, retrievable date
(whether carded, taped, coded, electrostatically or
electromechanically recorded, or otherwise}, or other data
compilation from which information can be obtained, including, but
not limited to, notices, memoranda, diaries, minutes, purchase
records, purchase invoices, market data, correspondence, computer
slorage tapes, computer storage cards or discs, computer memories,
books, journals, ledgers, statements, reports, invoices, bills,
vouchers, worksheets, work papers, work orders, sale orders,
purchase orders, jottings, notes, letters, abstracts, audits,
financial statements, charts, checks, wire transfer confirmations,
diagrams, drafts, recordings, instructions, lists, logs, orders,
recitals, telegram messages, telephone bills and logs, resumes,
summaries, compilations, computations, and other formal = and
informal writings or Langible preservations of information.
2. Relevance Limitation

The document retention injunction contained herein pertains
only to documents containing information that may be relevant to,
or may lead to the discovery of information relevant to, the
activities of the Receivership Entities or Lauer, the activities of
the Receivership Entities’ or Lauer’s portfolio companies, and the
activities of any entity receiving monies from or performing

services of any kind for the Receivership Entities or Lauer. Any

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document described or referred to in any discovery request made
during this litigation shall, from the time of the request, be
treated for purposes of this order as containing such information
unless and until the court rules such information to be irrelevant.
3. Digputes Over Retention

Counsel shall confer to resolve questions as to what documents
are outside the scope of the document retention injunction and as
to an earlier date for permissible destruction of particular
categories of documents. If counsel are unable to agree, then any
party may apply to the court for clarification or reliet from the
document retention injunction. Notwithstanding this provision, a
party waives any objection to the destruction of any document by
failing to object to such destruction within sixty (60) days after
receiving notice of another party's intention to destroy such
document.
4. Implementation; Responsible Individual

Each party to this Case (excluding the SEC) shall, within ten
(10) days after receiving this Order, designate an individual who
shall be responsible for ensuring that the party carries out the
requirements of this Order.

XII. CLAIMS PROCEDURES
A. Application of this Order
All persons or entities with claims or demands against any

Reccivership Entity must present their claims to the Receiver in

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accordance with this Order. This requirement applies to all
persons and entities, whether or not parties to this Proceeding.
Persons or entities who have already submitted claim forms to the
Receiver are not required to file additional claim forms.
B. Claim Requirements

All claims filed against the Receiversnip Entities in this
Proceeding shall be substantially in the form provided by the
Receiver. Each claim shall be signed by the Claimant under penalty
of perjury and shall be filed against the Receivership Entity that
1s obligated or liable to Claimant. The Receiver shall provide the
claim form by electronic mail, by hard copy or by posting on a
website.

Cc, Claims Bar Date

The claims bar date is April 1, 2004.
lL. Notice of Claims Bar Date
a) Mail Notice

The Receiver shall provide notice of the claims bar date
indicated in this Scction of this Order and a form for filing any
claim to all parties on the Master Service List and upon all known
investors and creditors of the Receivership Entities, by bulk rate
U.S. Mail, on or before January 23, 2004. The Recelver is ditercled
to create an appropriate form of notice.
b) Publication Notice

The Receiver is directed to publish, before January 23, 2004,

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a legal notice for three consecutive weekdays in the USA Today and
such other publications the Receiver dcems appropriate under the
circumstances, for the purpose of informing all persons of the
claims bar date.
D. ar_ ba Injunction

All creditors, claimants, and other persons failing to
present claims and supporting proof to the Receiver postmarked on
or before the claims bar dale will be forever barred from
participating in any distribution of the assets of the Receivership
Entities and ghall be further barred from asserting sct-offs or
recoupment of any kind whatsoever against any Receivership Entity
or its assets.

E. Claims Review Process

After the Receiver hag received the executed claim forms and
the claims bar date has passed, the Receiver shall file a motion
for an order detailing and approving the criteria and methodology
to be used in reviewing the claims and their attached documentation
to determine whether the claims should be allowed in full, allowed
in part, or disallowed.
1. Insufficient Claim Documentation

If the Receiver determines that a claim Coxcm has been
improperly completed and/or that a claim lacks’ sufficient
supporting documentation, then the Receiver shall send the claimant

a notice of insufficient documentation indicating that the claimant

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shall have thirty (30) days in which to supplement’ the
documentation supporting the claim at issue. Failure to timely
supplement shall result in a recommendation of disallowance.

2. Omnibus Objections by Receiver

Upon completion of the Receiver’s review of the claims, the
Receiver shall file with the Court an accounting of all claims
submitted. The Receiver shall also file one or more omnibus
objeclions specifying those claims which the Receiver recommends
for disallowance, in whole or in part, and the basis for each
objection (the “Objection”).

The Receiver shall serve the Objection upon (i) any party
holding a claim recommended for disallowance, and (ii) the SEC.
The Objection shall state briefly the reasons for the
recommendation of disallowance and the amount, if any, the Receiver
recommends for allowance. A claimant that disputes the Receiver’s
recommendation shall file and serve the Receiver with a response to
the Receiver’s Objection within thirty (30) days after the mailing
of the Objection. Failure to timely file and serve a response will
result in adaption of the Receiver’s recommendation. The Court
shall set a hearing on any such responses which have not been
resolved by agreement with the Receiver within thirty (30) days
after the filing of the response.

XIII. PUBLIC ACCESS VIA TOLL FREE NUMBER AND WEBSITE

The Receiver shall establish and maintain a toll-free number,

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currently (866) 285-5897, to receive investor and creditor
questions. The Receiver may also be contacted via electronic mail
at lancer@hunton.com. Additionally, the Receiver shall maintain an
informational website at the following:

http: //www.hunton.com/news_events/legal_dev/Lancer_Re

celvership Information.ntml
which website may contain Status reports and selected pleadings
from this Proceeding or any proceedings ancillary hereto, which
reports and/or pleadings shall be chosen and displayed at the
Receiver’s sole discretion.

DONE AND ORDERED owen at Fort Lauderdale, Broward

County, Florida, this Lf “day of January, 2004.

ee

WILLIAM J. ZLOCH
Chief United States District Judge

Copies furnished:

All attorneys of record

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